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                       1 WILLIAM W. HUCKINS (BAR NO. 201098)
                         IVAN M. GOLD (BAR NO. 121486)
                       2 ALLEN MATKINS LECK GAMBLE
                           MALLORY & NATSIS LLP
                       3 Three Embarcadero Center, 12th Floor
                         San Francisco, California 94111-4074
                       4 Phone: (415) 837-1515
                         Fax: (415) 837-1516
                       5 E-Mail: igold@allenmatkins.com
                                 whuckins@allenmatkins.com
                         Attorneys for Brookfield Properties Retail, Inc.,
                       7 Simon Property Group, Inc., and certain of their
                         respective affiliates
                       8                           UNITED STATES BANKRUPTCY COURT

                       9                                   CENTRAL DISTRICT OF CALIFORNIA

                      10                                          LOS ANGELES DIVISION
                      11 In re                                                 Case No. Case No.: 2:22-bk-10266-BB

                      12 ESCADA AMERICA LLC,                                   Chapter 11, Subchapter V

                      13                        Debtor and Debtor in Possession. DECLARATION OF IVAN M. GOLD
                                                                                 SUPPORTING OBJECTION OF SIMON
                      14                                                         PROPERTY GROUP AND BROOKFIELD
                                                                                 PROPERTIES RETAIL TO DEBTOR'S
                      15                                                         SUBCHAPTER V ELECTION OR,
                                                                                 ALTERNATIVELY, MOTION FOR
                      16                                                         APPOINTMENT OF AN OFFICIAL
                                                                                 COMMITTEE OF UNSECURED
                      17                                                         CREDITORS

                      18                                                       Date: April 6, 2022
                                                                               Time: 10:00 a.m.
                      19                                                       Place: Edward R. Roybal Federal Building and
                                                                                      Courthouse
                      20                                                              Courtroom 1539
                                                                                      255 East Temple Street
                      21                                                              Los Angeles, CA 90012

                      22                                                       Hearing to be held in-person and by
                                                                               videoconference Government Zoom, see Court's
                      23                                                       website under "Telephonic Instructions" for more
                                                                               details:
                      24                                                       https://www.cacb.uscourts.gov/judges/honorable­
                                                                               sheri-bluebond
                      25

                      26
                      27               I, Ivan M. Gold, pursuant to 28 U.S.C. § 1746, hereby declares as follows:
                      28
       LAW OFFICES
Allen Matkins Leck Gamble
   Mallory & Natsis LLP

                            4865-5082-0886, J                                   -]-
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                       1                1.      I am an attorney at law, duly admitted to practice before all of the courts of the

                       2 State of California and a member of the bar of this Court. I am Of Counsel with the law firm

                       3 Allen Matkins Leck Gamble Mallory & Natsis, LLP, counsel herein for Brookfield Properties

                       4 Retail, Inc. and its affiliate, Ala Moana Anchor Acquisition, LLC (collectively, "Brookfield"), and

                       5 Simon Property Group, Inc., and its affiliates, Premium Outlet Partners, LP, SPG Houston

                       6 Holdings, L.P., Las Vegas North Outlets, LLC, The Retail Property Trust, and Sawgrass Mills

                       7 Phase IV, LLC (collectively, "Simon," and together with Brookfield, the "Objecting Landlords").

                       8                2.      The Objecting Landlords are the landlords or managing agents for several of the

                       9 above-captioned Debtor's former retail locations.

                                        3.      This Declaration is submitted in support of the Objection of Simon Property Group

                      11 and Brookfield Properties Retail To Debtor's Subchapter V Election or, Alternatively, Motion For

                      12 Appointment of an Official Committee Of Unsecured Creditors (the "Objection"). This

                      13 Declaration is based on my personal knowledge, unless noted otherwise, and I could competently

                      14 testify to its contents if called to do so.

                      15                4.      On January 20, 2022, I personally attended, via Zoom videoconference, the hearing

                      16 on the "first day" motions in this case filed by debtor Escada America, LLC ("Debtor").hearing.

                      17 Following the hearing, I requested that Ben Hyatt Deposition Reporters, one of this Court's

                      18 approved transcription service providers, to prepare a transcript of the electronic audio recording

                      19 of such proceedings. Attached hereto as Exhibit A, and incorporated herein by this reference, is a

                      20 true and correct copy of the transcript of the January 20, 2022 hearing in this case.

                      21                5.      On February 8, 2022, I personally participated, via telephone, in the Section 341(a)

                      22 First Meeting of Creditors. A true and correct copy of the transcript of the Section 341 ( a) Meeting

                      23 of Creditors, prepared by Ben Hyatt Deposition Reporters from the electronic sound recording

                      24 provided by the Office of the U.S. Trustee, is attached hereto as Exhibit Band incorporated herein

                      25 by this reference.

                      26                6.      Attached hereto as Exhibit C is a true and correct copy of Business Registration

                      27 Records Report, generated February 15, 2022, from the LexisNexis database, reflecting that Eden

                      28 Roe was registered as a Delaware limited liability company on May 31, 2019.
       LAW OFFICES
Allen Matkins Leck Gamble
   Mallory & Natsis LLP

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                       1               7.      Attached hereto as Exhibit D is a true and correct copy of the Application of Mega

                       2 International, LLC Register as a Foreign Limited Liability Company in the State of California,

                       3 dated August 15, 2016, executed by Michael Reinstein. This document is available from the public

                       4 database of the California Secretary of State at: https://businesssearch.sos.ca.gov.

                       5               8.      Attached hereto as Exhibit Eis a true and correct copy of Business Registration

                       6 Records Report, generated February 15, 2022, from the LexisNexis database, reflecting that

                       7 Escada Sourcing and Production LLC was registered as a Delaware limited liability company on

                       8 June 17, 2020.

                       9               9.      Attached hereto as Exhibit Fis a true and correct copy of the Claims Summary

                      10 Report in the above-captioned Chapter 11 case, generated from this Court's CM/ECF system on

                      11 March 16, 2022. Judicial notice may be taken of this Court's own records pursuant to Rule 201 of

                      12 the Federal Rules of Evidence.

                      13               I declare under penalty of perjury under the laws of the United States of America that the

                      14 foregoing is true and correct and that this declaration was executed on March 16, 2022 at the City

                      15 and County of San Francisco, California.

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       LAW OFFICES
Allen Matkins Leck Gamble
    Mallory & Natsis LLP

                            4865-5082-0886.1                                    -3-
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                  1                           UNITED STATES BANKRUPTCY COURT

                  2               CENTRAL DISTRICT OF CALIFORNIA - LOS ANGELES

                  3                                        --000--


                  4   In Re:                                      )    Case No. 2:22-bk-10266-BB
                                                                  )
                  5   ESCADA AMERICA , LLC,                       )    Chapter 11
                                                                  )
                  6   Debtors,                                    )    Los Angeles , California
                                                                  )    January 20 , 2022
                  7   ------------------------------)                  Thursday, 10:00 A.M.

                  8                                                    DEBTOR'S EMERGENCY MOTION
                                                                       FOR ORDER AUTHORIZING
                  9                                                    DEBTOR TO: (I) PAY
                                                                       PREPETITION PRIORITY
                 10                                                    WAGES, COMMISSIONS, AND
                                                                       BONUSES (II) HONOR ACCURED
                 11                                                    VACATION AND LEAVE BENEFIT
                                                                       IN THE ORDINARY COURSE OF
                 12                                                    BUSINESS

                 13                                                    DEBTOR'S EMERGENCY MOTION
I
                                                                       FOR ORDER LIMITING NOTICE
                 14                                                    AND RELEATED RELIEF

                 15                                                    DEBTOR'S EMERGENCY MOTION
                                                                       FOR ORDER AUTHORIZING
                 16                                                    DEBTOR TO HONOR ERTAIN
                                                                       PREPETITION OBLIGATIONS TO
                 17                                                    CUSTOMERS

                 18                                                    DEBTOR'S EMERGENCY MOTION
                                                                       FOR ORDER AUTHORIZING
                 19                                                    DEBTOR TO PAY CERTAIN
                                                                       PREPETITION TAXES AND
                 20                                                    CUSTOMS DUTIES

                 21                                                    DEBTOR'S FIRST OMNIBUS
                                                                       EMERGENCY MOTION FOR ORDER
                 22                                                    AUTHORIZING DEBTOR TO: (I)
                                                                       REJECT CERTAIN UNEXPIRED
                 23                                                    NON-RESIDENTIAL REAL
                                                                       PROPERTY LEASES PURSUANT
                 24
                      Proceedings produced by electronic sound recording;
                 25   transcript produced by transcription service.




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      1                                                         TO 11 U.S.C. §365 (II)
                                                                ABANDON ANY REMAINING
      2                                                         PERSONAL PROPERTY LOCATED
                                                                AT THE LEASED PREMISES
      3
                                                                DEBTOR'S EMERGENCY MOTION
      4                                                         ORDER: (I) AUTHORIZING
                                                                DEBTOR TO PROVIDE ADEQUATE
      5                                                         ASURANCE OF FUTURE PAYMENT
                                                                TO UTILITY COMPANIES
      6                                                         PURSUANT TO SECTION 355(C)
                                                                OF THE BANKRUPTCY CODE
      7                                                         (II) SETTING A FINAL
                                                                HEARING
      8
                                                                DEBTOR'S EMERGENCY MOTION
      9                                                         ORDER: (I) AUTHORIZING
                                                                INTERIM USE OF CASH
     10                                                         COLLATERAL PURSUANT TO
                                                                SECTION 363 OF THE
     11                                                         BANKRUPTCY CODE (II)
                                                                SETTING A FINAL HEARING
     12
                                  TRANSCRIPT OF PROCEEDINGS
     13                      BEFORE THE HONORABLE SHERI BLUEBOND
                                UNITED STATES BANKRUPTCY JUDGE
     14

     15   APPEARANCES:

     16   For the Debtor:                        JOHN-PATRICK M. FRITZ, ESQ.
                                                 Levene, Neale, Bender, Yoo &
     17                                          Golubchik, LLP
                                                 2818 La Cienega Avenue
     18                                          Los Angeles, California 90034

     19                                          KEVIN WALSH, ESQ.
                                                 462 Chatham Road
     20                                          Burlingame, California                   94010

     21   For Scottsdale Fashion                 NAHAL ZARNIGHIAN, ESQ.
          Square:                                Ballard Spahr, LLP
     22                                          2029 Century Park East
                                                 Suite #1400
     23                                          Los Angeles, California                   90067

     24

     25




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      1    For the Sub-Chapter 5             GREG JONES, ESQ.
           Trustee:
      2
           For Potential                     KRISTIN ELLIOTT, ESQ.
      3    Interested Parties:               Kelley Drye & Warren
                                             3 World Trade Center
       4                                     175 Greenwich Street
                                             New York, New York 10007
      5
           For Simon Properties              IVAN GOLD, ESQ.
       6   Group; Brookfield                 Allen Matkins Leck Gamble
           Properties:                         Mallory & Natsis, LLP
      7                                      3 Embarcadero Center
                                             12th Floor
      8                                      San Francisco, California 94111

       9   For the U.S. Trustee:             ERYK R. ESCOBAR, ESQ.
                                             Office of the U.S. Trustee
     10                                      915 Wilshire Boulevard
                                             Suite #1850
     11                                      Los Angeles, California 90017

     12    Court Recorder:                   William Kaaumoana
                                             U.S. Bankruptcy Court
     13                                      Central District of California
                                             Edward R. Roybal Federal Building
     14                                        and Courthouse
                                             255 East Temple Street, Room #940
     15                                      Los Angeles, California 90012
                                             (855) 460-9641
     16
           Court Transcriptionist:           Ruth Ann Hager, C.E.T.**D-641
     17                                      Ben Hyatt Certified Deposition
                                               Reporters
     18                                      17835 Ventura Boulevard
                                             Suite #310
     19                                      Encino, California 91316

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       1          LOS ANGELES, CALIFORNIA, THURSDAY,           JANUARY 20, 2022,

       2                                       10:09 A.M.

       3                                        --000--

       4                 THE COURT:         Good morning.    Got a number of

       5   matters on calendar today in the                 now, let's see.     What

       6   is the name of this case?             It is the Escada America, LLC

       7   case.     I have -- let's see.          I've got to call them all at

       8   once and I'll call the names that I have on the calendar,

       9   and once we're done with those names,              if there's more

     10    people who want to appear, that's fine.

     11                  Okay.      So #1.00 is the debtor's emergency motion

     12    for an order authorizing the payment of prepetition wages,

     13    et cetera; #2.00 is the debtor's emergency motion for an

     14    order limiting notice and related relief; #3.00 is the

     15    emergency motion to honor certain prepetition obligations

     16    to customers; and #4.00 is a motion of authorizing the

     17    debtor to pay certain prepetition taxes and custom duties;

     18    #5.00 is the emergency motion for an order authorizing the

     19    debtor to reject certain leases and abandon personal

     20    property remaining on the premises; #6.00 is the emergency

     21    motion authorizing the debtor to provide adequate assurance

     22    to utilities; and #7.00 is an emergency motion authorizing

     23    the use of cash collateral.

     24                  All right.         So do I have a Nathan [sic]

     25    Zarnighian appearing?




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      1                   (No audible response.)

       2                 I see your box.           You're on mute -- or Nahal

      3    (phonetic).        I'm sorry.       Not Nathan, Nahal.      Is   there

       4                 MS. ZARNIGHIAN:           Good morning, Your Honor.        Nahal

       5   Zarnighian on behalf of the Masridge Company (phonetic).

       6                 THE COURT:         I'm sorry.    Behalf -- on behalf of

      7    whom?

       8                 MS. ZARNIGHIAN:           Oh, it's Scottsdale Fashion

       9   Square for the Masridge Company.

     10                  THE COURT:         All right.    Thank you.    Thank you,

     11    and, Mr. Fritz, would you make your appearance, please?

     12                  MR. FRITZ:         Yes.    Good morning, Your Honor.        J.P.

     13    Fritz of Levene, Neale, Bender, Yoo & Golubchik, for the

     14    debtor and debtor in possession, Escada America, LLC.

     15                  THE COURT:         All right.    Thank you.

     16                  And Kevin Walsh, would you make an appearance,

     17    please?

     18                  MR. WALSH:         Good morning, Your Honor.       Kevin

     19    Walsh.     I work for Escada America, LLC.

     20                  THE COURT:         All right.    Thank you.

     21                  And, Mr. Jones, would you make your appearance?

     22                  MR. JONES:         Good morning, Your Honor.       Greg

     23    Jones, sub-Chapter 5 trustee.

     24                  THE COURT:         Thank you.

     25                  And, Mr. Gold, would you make your appearance?




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      1                 MR. GOLD:          Good morning, Your Honor.          Ivan Gold

      2   of Allen Matkins for five landlords affiliated with Simon

      3   Property Group and Brookfield Properties Retail.                      They're

      4   identified by entity name in the debtor's motion that is

      5   calendar #5.00.

      6                 THE COURT:         Okay.     Got it.     Thank you.

      7                 And, Kristin Elliott, would you make an

      8   appearance, please?

      9                 MS. ELLIOTT:          Yes.    Good morning, Your Honor.

     10   Kristin Elliott of Kelley, Drye & Warren on behalf of

     11   certain potentially interested parties.

     12                 THE COURT:         Okay.     What kind of potentially

     13   interested parties, creditor types?

     14                 MS. ELLIOTT:          Yes, Your Honor.

     15                 THE COURT:         Okay.     Okay.     All right.     Ms.

     16   Elliott.      Okay.      All right.

     17                 And then I see Mr. Escobar there.               Did you want

     18   to make an appearance?

     19                 MR. ESCOBAR:          Good morning.       Eryk Escobar for the

     20   U.S. Trustee.

     21                 THE COURT:         Okay.     Thank you.

     22                 And I see somebody labeled spectator.                  Okay.

     23   Let's see.        Is there anyone else -- two people named

     24   spectator.       Okay.      Anyone else want to make an appearance?

     25                  (No audible response.)




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      1                 THE COURT:         All right.   Hearing no one, okay.

      2                 So, Mr. Jones -- oh, not Mr. Jones.              Mr. Fritz,

      3   first time hearing this case.             Tell me about the case.

      4   Tell me how you served today's motions.                Yeah.    And

      5   anything else you want to tell me before we launch into the

      6   specific matters on calendar.

      7                 MR. FRITZ:         Thank you, Your Honor.        For the

      8   record,    J.P. Fritz, and I'd like to begin by thanking Your

      9   Honor,    the Court and the court staff setting this on an

     10   emergency basis and preparing for the hearing on the

     11   emergency basis as well.             It's very --

     12                 THE COURT:         You're welcome.

     13                 MR. FRITZ:         -- important to the company,

     14   especially the payroll issue, and I just wanted to extend

     15   on that appreciation on behalf of the company.

     16                 THE COURT:         Okay.

     17                 MR. FRITZ:         The pleadings were served on -- by

     18   way of overnight mail and email as set forth in the service

     19   declaration that we filed yesterday.                That is -- if Your

     20   Honor will give me a moment.

     21                 THE COURT:         Sure.

     22                 MR. FRITZ:         That is docket entry number 30, the

     23   declaration of service.

     24                 THE COURT:         All right.   Let me have a look at

     25   that.     Let's see.         30, declaration of service.         Excellent.




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       1   Okay.     Lord,    that's large.           Okay, declaration of service.

       2   Okay.     Overnight mail on Exhibit 1, overnight mail,

       3   utilities, email, Exhibit 3.

       4                 I'm not sure how to formulate this question.

       5   Looking at the proof of service, there's Exhibit 1 and

       6   Exhibit 2, both of which were served by overnight mail on

       7   January 18.        One is the utilities and the other is just

       8   other people.

       9                 So is it just that we've separated out the

     10    utilities from the other people you were serving or is

     11    there something             and same thing with #3.00 and #4.00.

     12    They seem to be the same.                You know,    they're both email

     13    served on January 18, but we've separated #4.00 is the

     14    utilities and #3.00 is not.                 Is that      is there something

     15    else going on that I'm missing or is it just that you show

     16    them separately, here's the utilities that we served?

     17                  MR. FRITZ:           It's -- Your Honor,     the difference

     18    is,    is that there's no need to serve the utilities with all

     19    the other motions besides the utility motion and the

     20    supporting declaration and exhibits on that.                   There's no

     21    point in serving the utilities with things like the tax

     22    motion and the customer loyalty motion.                   That's the reason

     23    for the difference.

     24                  THE COURT:           Oh,   I see.   The utilities motion and

     25    Walsh declaration.               Okay.   Utilities motion and Walsh




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       1   declaration and notice.             Okay.     I got it.     Okay.    D-2 is

       2   our list of utilities.             All right.     Okay.     All right.        I

       3   see that.       Okay.      That looks fine.

       4                 Okay.      Anything -- any hiccups in the service

       5   process that you wanted to bring to my attention or as far

       6   as you can tell, you've complied with our instructions

       7   about service?

       8                 MR. FRITZ:         Yes, Your Honor.        As far as I can

       9   tell, we've complied.             No hiccups that I'm aware of.           I

     10    also had various email exchanges and telephone

     11    conversations with the United States Trustee's Office and

     12    Mr. Jones, and then on the landlord-related issues with

     13    Mr. Ivan Gold to try to work out as many of these issues.

     14    So I do believe that service was effective and we're

     15    prepared to move forward today.

     16                  THE COURT:         Great.     All right.

     17                  MR. FRITZ:         Thank you, Your Honor.        The first

     18    matter on calendar is the prepetition payroll and wages

     19    motion, and I have had discussions about this with

     20    Mr. Escobar from the United States Trustee's Office and

     21    also exchanged emails with Mr. Jones about this.

     22                  THE COURT:         Actually, let's go back a second.

     23                  MR. FRITZ:         This is a critical

     24                  THE COURT:         Let's go back a step.        Before we

     25    actually launch into the specific motions, let's talk about




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       1   the business in general.             I just want to make sure I

       2   understood.        It's at one point you had 15 stores.          Now

       3   and you're trying to reject day five leases, so that's

       4   going to leave you with 10 stores.             But do you have a

       5   separate office location or is there offices in one of the

       6   stores or how -- I was a little confused about how many

      7    locations we have.

       8                 MR. FRITZ:         Yes, Your Honor.     There were 15

       9   stores.      Over the past couple of years during the pandemic,

     10    the store count has been reduced as an effort to cut back

     11    on overhead and expenses and right-size the business to the

     12    profitable stores.
     13                   I believe as of the filing, we're down to

     14    approximately seven, maybe eight, stores.                Five are being

     15    rejected today and then that should leave two, and at most

     16    maybe three stores left for ongoing operations.                But this

     17    has been a process of shrinking the footprint during the

     18    pandemic and now further shrinking it through today's

     19    rejection motion.

     20                  THE COURT:         All right.

     21                  MR. FRITZ:         There is --

     22                  THE COURT:         As we sit here today, in terms of

     23    I asked about stores.             Now let's talk about leases.        In

     24    terms of the number of leases that are in effect, you've

     25    got five that you want reject today.                That will leave you




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      1   with how many leases that have not been terminated as of

      2   the petition date, if we grant that?

      3                 MR. FRITZ:         I believe -- well, Your Honor,     I --

      4   just because Your Honor mentioned the petition date, we're

      5   withdrawing our request for retroactive relief of the

      6   rejection date.          Despite best efforts, we weren't able to

      7   vacate and turn over possession.              So we've addressed that

      8   in the revised order with --

      9                 THE COURT:         Okay.

     10                 MR. FRITZ:         -- proposed language.   I just wanted

     11   to make that clear.

     12                 THE COURT:         Okay.

     13                 MR. FRITZ:         Our -- apologies.   We -- I'm told

     14   that we have six -- that we have four stores remaining plus

     15   one in the New York office.              So, let's say, five -- closed

     16   like five stores.

     17                 THE COURT:         Okay, and how many leases?    Was each

     18   one a separate lease?

     19                 MR. FRITZ:         Each one is a separate lease and I'm

     20   aware that there are Escada operations going on at a couple

     21   of locations that are leases that are not signed under the

     22   debtor's name, but the economic benefits of the operations

     23   there will be part of the estate and the estate's cash

     24   flow.

     25                 THE COURT:         Okay.




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      1                 MR. FRITZ:         So there will be some certain

      2   situations where there will be a business going on

      3   someplace and expenses are being paid and money is coming

      4   in, which will be part of the cash flow to pay creditors.

      5   It's just that the lease is not in the name of Escada

      6   America, LLC.

      7                 THE COURT:         Okay.   And what about the New York

      8   office?      Does that have its own lease?

      9                 MR. FRITZ:         Yes, Your Honor, that has its own

     10   lease.

     11                 THE COURT:         Okay.   All right.   And you -- is it

     12   your vision -- and I know obviously this can change, but is

     13   it your vision that you're going to emerge with two or

     14   three stores continuing operations or you're trying to wind

     15   it down entirely?           You're trying to do a sale?       I mean

     16   what's our big picture?             What's our exit strategy, if you

     17   have one, at this point?

     18                 MR. FRITZ:         This is going to be a Chapter 11 plan

     19   exit strategy.          The business will continue to go on.

     20   There's no intention at this time to do a 363 sale or

     21   liquidate.

     22                 THE COURT:         Okay.   All right.   Okay.   And I know

     23   it's not a case status conference, but -- well, at some

     24   point I want to hear if Mr. Escobar's got any issues yet or

     25   Mr. Jones has got any issues yet, and I guess this is as




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       1   good a time as any before locking it.

       2                 Let me ask at in this point.             I mean I want to --

       3   I am going to talk about each of the motions independently.

       4   So I guess what I want to know is whether there's anything

       5   that Mr. Escobar wants to say at this point that is sort of

       6   at -- on a general level across the board as distinguished

      7    from input on any of the particular individual motions.

       8                 MR. ESCOBAR:         Eryk Escobar for the U.S. Trustee.

       9                 THE COURT:         Um-hum.

     10                  MR. ESCOBAR:         On a general level, no.

     11                  THE COURT:         Okay.

     12                  MR. ESCOBAR:         Thank you.

     13                  THE COURT:         All right.     What about you, Mr.

     14    Jones?

     15                  MR. JONES:         Your Honor,    same with me.   I have

     16    nothing to say at a general level.                I've spoken with

     17    Mr. Fritz yesterday extensively and I have an idea what's

     18    going to -- what the exit strategy is going to be.

     19                  THE COURT:         Okay.     Terrific.   All right.    Then,

     20    Mr. Fritz, let's get to -- go back to where I interrupted

     21    and diverted you.           You were talk -- starting to talk about

     22    the wage motion.

     23                  MR. FRITZ:         Yes, Your Honor.      Thank you.    Payroll

     24    is to be funded this morning through ADP --

     25                  THE COURT:         Um-hum.




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       1                 MR. FRITZ:         -- and I've had an opportunity to

       2   review the Court's tentative ruling and discuss this issue

       3   by email with Mr. Escobar and Mr. Jones.             All of the

       4   employees to be paid are non-insiders.             This is all within

       5   the limits set forth under the Code for priority.

       6                 In discussions yesterday with the general in-

       7   house counsel for JPMorgan Chase, where the debtor's

       8   prepetition bank account is held,            I was informed that Chase

       9   is going to need specific language in order to make the

     10    transfer of -- or allow the wire to ADP to fund the

     11    payroll.

     12                  So we have revised that proposed order, uploaded

     13    it this morning, and done a notice of lodgment.                I've also

     14    shared it with Mr. Escobar and Mr. Jones.             I know

     15    Mr. Escobar had some questions about it and I just have

     16    checked with the client and wanted to assure the Court and

     17    Mr. Escobar that no prepetition checks are going to be out

     18    there.     The checks come from ADP and this is only a matter

     19    of wiring the funds from this account to ADP this morning

     20    and it's supposed to be very circumscribed relief.                And

     21    after we accomplish that, we're going to get back to

     22    closing the prepetition accounts and opening up post-

     23    petition DIP accounts.

     24                  We did not seek a cash management motion or

     25    order.     We're going to do our best to comply with the U.S.




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      1    Trustee's requirements on opening DIP accounts.                This is

       2   only to make sure that the prepetition payroll gets funded

      3    by way of wire and then ADP is cutting the checks separate.

       4                  THE COURT:         Okay.   So --

      5                   MR. FRITZ:         And I've done my best to reflect that

       6   in the new proposed order.

      7                   THE COURT:         Okay.   All right.   So just -- so you

       8   made a reference to my tentative ruling, which isn't in the

       9   record, so let me go ahead and put it in.

     10                   The tentative ruling says:

     11                   "Authorized debtor to pay prepetition wages and

     12           honor prepetition benefits up to aggregate of priority

     13           amounts per employee excluding insiders.             With regard

     14           to insiders, orders can provide that if and when and

     15           to the extent that insider compensation has been

     16           approved, the debtor is authorized to pay prepetition

     17           wages to insiders in accordance with any formula

     18           adopted through approved the insider compensation

     19           process.        The Court does not see in the motion a

     20           request honor outstanding checks for prepetition

     21           payroll amounts as bank accounts must be closed.               Any

     22           outstanding pre-petition checks should be replaced

     23           with new checks.            This may be inapplicable as the

     24           debtor uses ADP to pay its employees."

     25                   So if there are outstanding checks out there,




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      1   they're ADP's checks, not the debtor's checks.                 So closing

      2   your bank accounts isn't going to make those checks bounce,

      3   so that seems like that's irrelevant.

      4                 And the note, this isn't -- by granting this

      5   motion I'm not authorizing use of cash collateral, but

      6   we've got the cash collateral hearing on motion                   on

      7   calendar as well.           So if I J.o Ll1ctl,    Lhen you' 11 have the

      8   authority -- this is the prepetition part.                 So when I grant

      9   this motion,       that's giving you permission to do something

     10   you otherwise wouldn't be able to do, namely pay a pre-

     11   petition obligation, but then you still have to come up

     12   with the money to do it, which you do through the cash

     13   collateral motion.

     14                 Okay.      So you've uploaded a new order and I have

     15   that.     Let me have a look at it and then if there's -- you

     16   said       I think you said the parties had some issues about

     17   it.     So let's see.            Okay.   I think that the first paragraph

     18   we need to say,         you know, up to the statutory maximum to

     19   the statutory for priority claims.                We can figure out how

     20   to say that in a minute.

     21                  (Pause)

     22                 Okay.      Other than that, one little caveat, which

     23   is not quite in there by virtue of the language of

     24   paragraph 3, but sort of,                I'm fine with the language of the

     25   order.




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      1                   So you said other people had issues with the form

      2    of the order?

      3                   MR. FRITZ:          Your Honor,    I believe Mr. Escobar had

       4   some concerns about it.               I think that I have addressed

      5    those with him prior to the hearing in our email exchange,

       6   but I would invite him to make any comments on the record

      7    if he still ha"' cor1cer11::;.

      8                   THE COURT:          Okay.   Mr. Escobar?

       9                  MR. ESCOBAR:          Thank you.    Eryk Escobar for the

     10    U.S. Trustee.           Your Honor, my concern was as to paragraph 6

     11    where I understand that language has been added a request

     12    to JPMorgan Chase and I understand at a practical level why

     13    it's there.

     14                   My concern was simply that when I first read it,

     15    it seemed to almost allow the debtor to honor prepetition

     16    checks and I understand that the only request at the moment

     17    is that the wires to fund the current payroll be honored

     18    from the non-DIP account that is being closed otherwise.

     19                   And so with that in mind, we're comfortable with

     20    the order.         Counsel did provide the additional information,

     21    and so we appreciate that.

     22                   THE COURT:          Okay.   Plus, don't forget that all

     23    paragraph 6 does is protect Chase; it doesn't protect the

     24    debtor.       So to the extent the debtor authorized Chase or

     25    instructed Chase to do something it really ought not to




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       1   have done,      I'm not even happy about that and there may be

       2   negative implications afloat.                 Just we're not going to

       3   punish Chase for it if they had

       4                 MR. FRITZ:         Right.

       5                 THE COURT:          -- a good faith belief, et cetera.

       6   Okay.     All right.        Any other comments other than my

       7   comment, which I think I can readily make in lieu here.                        I

       8   can add something about "provided that no employer shall

       9   receive in value over" -- you know, the same kind of

     10    language that you've got in 3, except I've got to clarify

     11    that the amounts that get paid in 2 when combined with 3

     12    can't exceed that cap, but I think I can do that.

     13                  Any other comments or concerns about the form of

     14    this order?        No?

     15                  MR. JONES:          No.

     16                  THE COURT:         Okay.    All right.     Well, let's look

     17    at that order then.              Let's see.     And I'll see if I can fix

     18    that.     Lodged -- Escada America, I want to                 right here.

     19    Okay.     Okay.      Let's fix that.          Okay.   This is to pay.

     20    Okay.     Let's do this.           I hope this won't do violence to

     21    anything here.
     22                  I'm going to add at the beginning of paragraph 4,

     23    "Provided that the aggregate of such payments and benefits

     24    does not exceed in value the sum of $13,650 per employee,

     25    the debtor is authorized to: pay and/or honor all




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       1   prepetition wages, salaries, and bonuses, including the

       2   matching contributions all applicable," yada yada yada,

       3   and -- oh no, that's wrong.               (B) -- oops, why is it doing

       4   that?     There we go.            Okay.
       5                  All right.          So I've got the caveat of the

       6   beginning.        So paragraph 2 now reads, "Provided that the

       7   aggregate of such payments and benefits does not exceed in

       8   value the sum of $13,650 per employee, the debtor is

       9   authorized to:         (a) pay and/ or honor all pre-petition wages,

     10    et cetera," all the way up through the end of that

     11    paragraph, and, "on or but not pay at this time accrued

     12    vacation and leave benefits by allowing employees to take

     13    their approved vacation as the ordinary course of

     14    business."
     15                   Okay.      And I'm going to delete that "provided no

     16    employees shall receive," et cetera.                  Now, does that phrase

     17    "on account of" still work?               Yeah,    I think so.     Oh, maybe

      18   not.    Maybe I just need -- delete the "on account of."

     19                   "Honor but not pay at this time accrued vacation

     20    and leave benefits by allowing employees to take their

     21    accrued vacation or leave time in the ordinary course of

     22    business."        All right.         I don't think I need the "on

      23   account of prepetition claims for," or do I?                     And I -- you

      24   know what?        I don't say is anything about the 180 days

      25   prior to the bankruptcy in here.                  Maybe I need to add that




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       1   in the proviso.

       2                 Provided that the aggregate of such payments

       3   is -- and that such wages and benefits -- well, it may not

       4   be true for the vacation policies.              Yeah.   "Provided that

       5   the aggregate of such payments and benefits does not exceed

       6   in value the sum of $13,650 per employee and that such

       7   wages and benefits relate to the 180-day period prior to

       8   the bankruptcy, the debtor is authorized to such honor but

       9   not pay in the ordinary course of business" and then I'll

     10    delete the "on account of prepetition claims for wages,

     11    salaries, commissions, bonuses, and vacation leave

     12    benefits."        I think that works.        Of course, you don't have

     13    the benefit of seeing it, but -- and you've got this

     14    footnote, which I have left in, about that this payment

     15    includes all salaries and taxes, et cetera.

     16                  All right.         Should I read that all again or did

     17    that make some sense, Mr. Fritz?              Do you understand what

     18    I'm saying?

     19                  MR. FRITZ:         It made sense to me, Your Honor.

     20                  THE COURT:         Okay.   All right. Then I think the

     21    rest of it's fine the way it is.              I think we end up a

     22    little bit lower on the page then I'm supposed to end, so

     23    I'm going to put this onto the next page.               And then -- all

     24    right, and if you -- when you look at it, you find that

     25    I've messed it up royally, you can always lodge something




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      1   asking me to amend it to fix it.           I hope it's right.       Okay.

      2   So all right.          And we'll approve that for entry, so that'll

      3   get done today.
      4                  Okay.      So that one is granted.   The ruling for it

      5   approved.       Today is the 20th.      Okay -- oh, no, the 20th --

      6   2022.     All right.
      7                  So then the next motion is the limiting notice

      8   and, in general, I thought the motion was fine.             The only

      9   thing that I -- I had an issue with, in part Don page 8,

     10   you talk about what you want to do when you have to send

     11   out notices, that you want to be able to send just the

     12   notice of the motion that tells parties and interests how

     13   to get the full thing and not necessarily provide the

     14   moving papers.

     15                  And I'm concerned about that because of, you

     16   know, frankly our timing with our self-calendaring and

     17   throwing things in the mail and 21-day hearing process, it

     18   leaves very little time if somebody gets the notice.                Then

     19   they've got to get a copy of the motion and then they've

     20   got to do an opposition if they wanted to oppose.

     21                  Now, maybe this would be prohibitive, maybe

     22   you've got a huge universe of people.           I don't know.        It

     23   didn't look like your mailing lists were that -- were that

     24   long.     Of course, that was only the 20 largest, but still.

     25   If that is going to be problematic and cost you a fortune,




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      1    you know, we can continue the hearing.                 You can give me,

      2    you know, more evidence on it.

      3                  But absent of showing that we really are talking

       4   about a large universe here,             I       and, plus, you're going

      5    to have many parties are going to be -- appear and you'll

       6   be able to serve them by NEF.                I'm assuming you're not

      7    going to have many people that you're going to actually be

      8    mailing hard copies to.

      9                  But to the extent that it's somebody that's

     10    directly effected by the motion and they're not on your 20

     11    largest -- excuse me -- they're not on your NEF list, let's

     12    go ahead and actually mail them the motion.                 Yeah.     So that

     13    was my point in the tentatives.               So I don't know if you

     14    have a problem with that or not.

     15                  MR. FRITZ:         No problem with that, Your Honor.

     16    The debtor submits on the tentative and will strike that

     17    request for relief.

     18                  THE COURT:         Okay.   All right.    And you haven't

     19    uploaded an order on that yet or have you?

     20                  MR. FRITZ:         I have not, Your Honor.      We --

     21                  THE COURT:         Okay.   Okay.

     22                  MR. FRITZ:            only uploaded the payroll motion,

     23    not -- or nothing else.

     24                  THE COURT:         Okay.   All right.    Did anyone else

     25    have comments on number #2.00?




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       1                 MR.    JONES:        Your Honor,   with the Court's

       2   tentative,      I was concerned that the notice that was going

       3   to be sent out to everybody didn't have a date for

       4   oppositions for the -- just a notice saying you can get it.

       5   But I think based on what the Court has done here, what I

       6   have say is, you know, not relevant anymore.

      7                  THE COURT:           Got it.   Okay.   All right.     Okay.        So

       8   then the motion will be granted on the terms set forth on

       9   the tentative and we'll watch for an order.

     10                  Okay.      So then we go to #3.00.          That is honoring

     11    customer obligations.               And I think the only thing I said

     12    was:

     13                  "Fine with that provided that none of the

     14           benefits or programs you're honoring are going to

     15           result in distributions of more than the statutory

     16           priority, not to any one recipient."

     17                   I think you said you didn't think it would, but

     18    that's the theory under which I'm authorizing this.                    So I

     19    think we need to build that into the order.                  Do we think

     20    that's going to present a problem?

     21                  MR.    FRITZ:       No, Your Honor.     I do not expect that

     22    will be a problem.               The debtor submits on the tentative and

     23    I will add that concept to the proposed order before

     24    lodging.

     25                  THE COURT:          All right.     Great.   Okay.   So the




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       1   tentative will be the ruling.             Order to follow.   All right.

      2    From the debtor.

      3                  All right.         And then the post-petition taxes and

       4   custom duties.          I think there was language in there where

       5   you said most but not all of these tax -- or made most, if

       6   not all, yeah, of these taxes would qualify for priority

      7    status," but I don't think you took the time to go through

       8   it.    There may well be a basis to approve the ones that

       9   aren't priority claims, but I think we need to go and

     10    actually look at it and come up with a basis for it.                So my

     11    tentative on this one also says, "Granted to the extent

     12    that the taxes in question would, if unpaid, qualify for

     13    priority status.           If there are additional taxes that the

     14    debtor would like to pay that are not priority claims, the

     15    Court will need to evaluate those more closely in a case-

     16    by-case or state-by-state basis to ascertain whether

     17    relevant standard has been met" or any -- not, yeah,

     18    whatever the standard is depending on what the

     19    circumstances are.

     20                  Can the debtor live with that?

     21                  MR. FRITZ:         Yes, Your Honor.   The debtor submits

     22    on the tentative ruling and I will build that concept into

     23    the proposed order before lodging.

     24                  THE COURT:         All right.   And, again, I understand

     25    that there certainly could be consequences from not paying




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      1    taxes and there -- that you might well be able to make some

       2   case as to why under 363 you should be allowed to use, you

      3    know, assets of the estate in order to make those payments

       4   even if they are priority, but we'd have to look at it, so

      5    all right.
       6                 Okay.      And then we've got the lease rejection.

      7    So my comment on that one was, it seems to me that it's

      8    unfair to have a rejection be effective as of any date

       9   earlier than the date at which you actually gave back the

     10    premises, gave the keys, and said please go try to find

     11    yourself a new tenant.              And I don't -- didn't know when

     12    that actually occurred.              It sounded like you have modified

     13    the relief that you're requesting.              So I want to hear about

     14    that and I -- I don't know if Mr. Gold has other issues he

     15    wants to raise.          But, Mr. Fritz, why don't you tell me what

     16    exactly you're now proposing on #5.00.

     17                  MR. FRITZ:          Thank you, Your Honor.   Yes, we agree

     18    with Your Honor's comment and we are retracting our request

     19    for rejection effective as of the petition date.               I've had

     20    exchanges with Mr. Gold regarding certain language about

     21    the rejection effective date, protection for the landlord

     22    when it comes to disposing of any personal property that

     23    may be left behind.              And we have agreed on language in a

     24    proposed form of order that would address both of those

     25    concerns and that's language that's been used in other




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      1   Central District of California cases with lease rejection.

      2                  In concept, the lease rejection will be effective

      3   when the debtor provides notice to the landlord in writing,

      4   which could be by email, that -- that possession has been

      5   turned over and surrendered and also that the landlord will

      6   not have any liability for whatever stuff the debtor leaves

      7   behind at the premises.               Mr. Gold may want to add to that

      8   in a more eloquent fashion, but I do believe we have

      9   resolved those issues.

     10                  THE COURT:         Okay.   Mr. Gold?

     11                  MR. GOLD:          Thank you, Your Honor.    Ivan Gold of

     12   Allen Matkins for the five landlords that are in this

     13   motion.      Mr. Fritz and I have had very constructive and

     14   productive conversations and emails on this issue.                 I

     15   referred him to a number of Central District cases, most

     16   notably and recently Judge Brand's order in G-Star, which

     17   is a multi-location retail case, also a sub-Chapter 5 case

     18   from 2020.

     19                  So there are two pods here.            The first is, return

     20   of possession can be accomplished two ways:                 one is through

     21   conventional return of keys or access codes.                 The other, if

     22   I may borrow the phrase that originated in the Pier One

     23   bankruptcy back in Virginia in 2020, we also provide for

     24   contactless return of possession, which is an email or

     25   other writing from the debtor to the landlord confirming




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      1   possession of the premises is being returned and

      2   relinquished and authorizing the landlord to change the

      3   locks.     That email or other writing provides us with an

      4   objective marker for liability, claims, et cetera, purposes

      5   and it's been successfully used other cases.

      6                 Mr. Fritz has represented that some of the key

      7   return is in motion.             Some things may be delivered today.

      8   But the email alternative gives the debtor, upon entry of

      9   your order, an alternative to dispense with that expense

     10   and provide a quick and what has proven to be in other

     11   cases a reliable mechanism to confirm the return of

     12   possession.        So that's step one.

     13                 Step two is just to tweak the abandonment

     14   language since the debtor's secured debt is from affiliated

     15   insiders.       We've adopted language, again, from other cases,

     16   not just G-Star but Styles For Less and Anna's Linens,

     17   which was also a Levene, Neale case, an Orange County case

     18   a few years ago, that the landlord is free to dispose of

     19   anything that is left behind in terms of abandonment.                That

     20   way we are not dealing with the debtor's affiliates with

     21   state law procedures.
     22                 Mr. Fritz has been agreeable to this, and it

     23   does, in terms of Your Honor's tentative, which we thank

     24   you for,     it speaks to your tentative in terms of getting us

     25   to position to -- to market quicker.             We won't be tied up




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       1   with, you know, dealing with notices regarding what, at

       2   this point, is not inventory but like just miscellaneous

       3   shelving and racking that is typical when a --

       4                 THE COURT:          That was

       5                 MR. GOLD:          -- debtor leaves a store.

       6                 THE COURT:          -- going to be my question.      There

       7   isn't inventory?           There's just shelving and that's

       8                 MR. GOLD:          All of my clients have reported to me,

       9   Your Honor,       for all -- all five of these locations, they

     10    are not observing inventory in the store.               What they're

     11    seeing is racking and shelving.

     12                  THE COURT:          Okay.

     13                  MR. GOLD:          I mean, obviously if we -- if we are

     14    surprised by anything, you know, there                 we're in

     15    communication.          I'm not concerned about that, but the

     16    visual -- the visual thus far doesn't seem to indicate

     17    there are any material issues there and we're not talking

     18    about large quantities of inventory or equipment.

     19                  We're talking about, you know, the -- the end-of-

     20    the-line racking and shelving in these stores.               They've

     21    mostly been cleaned out.

     22                  THE COURT:          Okay.   And obviously it's not

     23    something I can take judicial notice of, but I can assume

     24    that this racking and shelving isn't something that's of

     25    any significant value if you tried to rip it out and resell




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       1   it.     Is that a fair assumption?

       2                 MR. GOLD:          As not only for assumption,         I would

       3   add to that, Your Honor, the net cost, because we, of

       4   course, have the cost of removal

       5                 THE COURT:          Right.

       6                 MR. GOLD:          -- and that makes a      small number even

       7   smaller and perhaps in many cases a negative number.

       8                 THE COURT:          Right.

       9                 MR. GOLD:          So our experience

     10                  THE COURT:          Okay.

     11                  MR. GOLD:          --   lS   there's -- there is not, at this

     12    point in the cycle, a robust market for miscellaneous,

     13    mismatched, partial racking and shelving that's slightly

     14    worn.

     15                  THE COURT:          Got it.      Okay.   All right.     So I'll

     16    get a proposed form of order that's been signed off on by

     17    Mr. Gold, correct?

     18                  MR. GOLD:          We've agreed upon a form.          Mr. Fritz

     19    was kind enough to send it last evening.                   I've reviewed it

     20    with both my clients this morning and we've communicated

     21    our acceptance.          So what you'll see from Mr. Fritz is

     22    something that all five parties affected by this motion

      23   have given the thumbs up to, Your Honor.

      24                 THE COURT:          Beautiful.      All right.   Great.      Okay.

      25   So that one'll be granted on those terms that we've been




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       1   discussing and I'll watch for the order -- approved form of

       2   order.

       3                  All right.           So #6.00, which is the utility

       4   motion, and basically I -- the tentative is to grant, but I
       5   -- I'm not sure that you described the procedure exactly

       6   the same way I described the procedure.                So I gave you my

       7   description but I don't think substantively it's materially

       8   different from what you're looking for.

       9                  The only difference was, you've got this

     10    provision in here.                You've requested that the utility be

     11    ordered to return the deposit within ten days after service

     12    is terminated.          Well, maybe not.        What if the debtor didn't

     13    pay for all the service?                What if they are post-petition

     14    defaults?       So it may well -- and you may well not want to

     15    have them return.            You may want to just have them apply it.

     16                   So I don't know if I can say anything about

     17    whether they should return it or when they should return it

     18    or maybe they -- maybe within ten days, they've got to give

     19    you an accounting of whether or not there's a credit?                  I

     20    mean, I don't know.                But I can't just say that they need to

     21    return it, because maybe they don't.

     22                   So other than that, I was walking through how I

     23    generally do this, which is I set the continued date now,

      24   we give -- set of deadline for you to serve notice of the

      25   final hearing and for you to actually send out the notice




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      1   of what you're doing and to send out the deposits you're

      2   going to make.          And then we tell them what the deadline is

      3   for them to complain if they don't think what you're paying

      4   is adequate assurance and that they have to do that in

      5   writing, and then I gave you a period of time to try to

      6   work it out.
      7                 If you can't work it out -- if you can work it

      8   out, great.        You go away and you let me know you've worked

      9   everything out and I can just take the final hearing off

     10   and make the interim order a final order, if we even need

     11   another order at that point.
     12                 If you can't work it out, then the debtor files

     13   the papers that you got from the utility, along with the

     14   debtor's response.               The utility has an opportunity for

     15   further response and then we have a final hearing.               I've

     16   been on the bench more than 20 years.               I can't remember

     17   ever once having a final hearing on this because either

     18   either the utilities don't mind or you all work it out, but

     19   -- which is good because I'm not exactly sure how that Code

     20   section is supposed to work.               But I take -- it's got to be

     21   the case that if there's a dispute about whether there's

     22   adequate assurance or not that I should be able to figure

     23   that out.
     24                 In any event, and then the order can also provide

     25   that in the interim, you know, while pending the conclusion




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      1    of this final hearing figuring out about whether or not

      2    there's adequate assurance, that they can't terminate your

      3    service based on, you know, the prepetition defaults or the

       4   lack of adequate assurance.

      5                   So are you okay with that approach?

       6                  MR. FRITZ:         Yes, Your Honor.   The debtor submits

      7    on the tentative ruling.              And just as a matter of

      8    clarification, did Your Honor want to put that, all of

       9   that, into the order or have a separate notice,              just so I

     10    know how to -- how to set this up?

     11                   THE COURT:         Yeah.   I think we put it all in the

     12    order and we'll walk through some dates.               I'll -- we'll

     13    figure out some dates now, and if you draft your order

     14    appropriately, I suppose you can use the order as the

     15    notice or you could just do a separate notice that goes

     16    with the          with the deposits explaining the deadlines.

     17                   I don't really care, as long as somebody who

     18    receives whatever                 your package, you know, the utility

     19    receiving it will be able to figure out what they're

     20    supposed to do.
     21                   Okay.      So the tentative is going to be the

     22    ruling, order to follow, and let's walk through the dates.

     23    Okay.     So when do you want to actually mail a notice to the

     24    utilities and send the deposits?

     25                   MR. FRITZ:         Next week, Your Honor, by Tuesday.




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      1                   THE COURT:         Okay.   Send deposits by -- Tuesday is

      2    the 25th.       All right, by 1/25.         All right.   So then let's

      3    tell the utilities if they object as to -- or disagree that

       4   that's adequate assurance, to adequate assurance, that

      5    utilities need to notify debtor in writing in such a way as

       6   to be received by -- they don't have to file anything with

      7    me.     They just have to get it to you.            Received by -- let's

      8    say       let's give them.           It may take them a while to even

       9   get it to the right person to respond.               So why don't we say

     10    February 8.        And then why don't we say if not resolved

     11    consensually, debtor shall file and serve the objection,

     12    plus debtor's response by -- doesn't give you much time,

     13    but I doubt you'll have to do any of this -- by February

     14    23rd.     And then any further papers from the utility by Feb

     15    -- March 2nd.          And then why don't we have         at that point,

     16    they would have to file it -- they'd have to file and serve

     17    it -- serve it.           And then why don't we have a hearing

     18    March 9.       So final hearing 3/9 at 11:00 a.m., and so I've

     19    put all of that in the order.
     20                   And then, yeah, if you don't have any unresolved

     21    objections, you don't, you know, file those papers by the

     22    23rd, but you could file something saying, you know, there

     23    aren't any, please take the hearing off calendar.               And you

     24    want to say that any utilities enjoined from terminating

     25    service based on prepetition defaults or lack of adequate




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       1   assurance pending outcome of final hearing -- something

       2   like that.        I mean because at some point, if -- if I did

       3   order the debtor to do something additional as adequate

       4   assurance and the debtor didn't do it, then they would be

       5   able to terminate service based on the prepetition

       6   defaults, but we're never going to get to that.                 And in the

       7   meantime, while we're figuring it out, they're enjoined

       8   from terminating service.             All right.   So I'm

       9                 MR. FRITZ:         Understood, Your Honor, and I will

     10    prepare the order.

     11                  THE COURT:         And I'm sure somebody at your firm's

     12    got one of these floating around that they've done for me

     13    before.      I really ought to have a form since I -- anyway.

     14    Okay.     So order to follow from the debtor with language

     15    like that.       Okay.

     16                  And then that brings us to the cash collateral

     17    hearing.      And I didn't see -- and, you know,            forgive me if

     18    I'm, you know,        raising something that you really, you know,

     19    going to get away with if I hadn't mentioned anything about

     20    it, but I didn't see anything about replacement liens

     21    because I always want to make sure that we aren't granting

     22    replacement liens and avoiding power claims.                So I didn't

     23    see any language at all.             So are you granting replacement

     24    liens and, if so, what are you granting it on.                And then

     25    I'm find with authorizing you to use, on an interim basis




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      1    between now and the final hearing, in accordance with the

       2   budget to the extent that you need to, plus a 15 percent

      3    variance.       So what's with the replacement liens?

       4                 MR. FRITZ:         Yes, Your Honor.     The concept was to

      5    provide replace liens but not on any avoidance actions and

       6   only to the same priority extent and validity as they

      7    existed pre-petition.             And I will revise the order to

       8   include one small paragraph related to that.

       9                 THE COURT:         Okay.

     10                  MR. FRITZ:         I had also contemplated adding in

     11    language that JPMorgan Chase had requested just as safety

     12    language to go with the payroll motion.                I understand the

     13    U.S. Trustee has had concerns that we already addressed in

     14    terms of the payroll motion.              And because of the payroll

     15    motion seems to be adequate,             I think that we could get rid

     16    of any additional JPMorgan Chase language from the cash

     17    collateral order and we could be safe to rely on the

     18    payroll order alone.             I just wanted to put that out there

     19    to give Mr. Escobar some comfort that we're not going to

     20    try to do anything untoward with the pre-petition accounts.

     21                  THE COURT:         Okay.   All right.    Did anybody else

     22    have concerns?          I mean,    I know I need to sit -- set dates,

     23    but were there any other concerns about the request for use

     24    of cash collateral?

     25                  MR. ESCOBAR:         Eryk Escobar for the U.S. Trustee.




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      1                  THE COURT:         Um-hum.

      2                  MR. ESCOBAR:          Your Honor, I understand we have

      3   the final hearing and I'll -- the U.S. Trustee will bring

      4   any objections they might have at that point as it further

      5   digests the motions and the request.

      6                  But one thing I did want to point out at this

      7   point, however,          just expressly on the record was that the

      8   U.S. Trustee is exploring with debtor's counsel kind of the

      9   details surrounding the store retention bonuses for "key

     10   talent."       There are two line items in the projections.

     11   There is no mention of them really in the motion itself, so

     12   it's really devoid of a lot of detail.                   It doesn't seem to

     13   be a lot, but it does seem to be every two weeks a line

     14   item that's there, and so we will be exploring that and I

     15   just did want to put that on the record.

     16                  THE COURT:         Okay.     All right.   Yeah.   I mean if

     17   there is anything in the budget that needs its own approval

     18   because it's some                 triggering some other section of the

     19   Code,   I don't mean to be impliably approving that by virtue

     20   of approving the budget.

     21                  So if there's some kind of, you know,             key

     22   employee retention bonuses or something where we've got to

     23   have, you know, separate approval, you'll cross that

     24   bridge.      It is          do -- I don't know if we want to address

     25   this issue now or not.




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      1                 I mean, Mr. Fritz,          is there something -- or are

      2    you just saying that people right now are getting combat

      3    pay or are you -- is -- I mean is it                   or is it some kind

       4   of bonus triggered by something else or                   I don't -- I'm

      5    not sure which line item Mr. Escobar is talking about.

       6                MR. FRITZ:        Yes, Your Honor.        These are not --

      7    this is not what I would consider a key employee retention

      8    program money.        This is not for insiders or officers.

       9   These -- this is for rank-and-file store employees and this

     10    is reflective of a very competitive market for labor right

     11    now, particularly in retail where it's very difficult to

     12    retain people,       even when companies are not in bankruptcy.

     13                 THE COURT:        So

     14                 MR. FRITZ:        Your Honor may have seen

     15                 THE COURT:              what's the policy

     16                 MR. FRITZ:              as I've seen --

     17                 THE COURT:        I mean what -- how does this work?

     18    What exactly is it that you're doing?

     19                 MR. FRITZ:        It's a bonus pay -- it was my

     20    understanding that it's a bonus payment to the rank-and-

     21    file sales associates and the store managers for -- to stay

     22    on, because otherwise in a competitive market we wouldn't

     23    be able to retain them.

     24                 THE COURT:        No.     But I mean are they getting X

     25    dollars more every week or in every paycheck they're just




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       1   being paid a little bit more than they -- like, basically,

       2   like, being given a raise or -- I mean what exactly is

      3    happening?

       4                 MR.    FRITZ:      Your Honor,   I don't have the exact

      5    details on that.           I've -- I'm providing the Court with the

       6   most information I have at this time.               I would suggest that

      7    I can come up with more details at the final hearing and

       8   also continue to discuss this with Mr. Escobar between now

       9   and the final hearing.              But I did want to give the Court

     10    some kind of comfort this is not some sort of officer and

     11    director current situation.

     12                  THE COURT:         Right.   Okay.   Yeah.   And it looks

     13    like -- I mean,         it's a recurring amount and obviously you

     14    don't continue to pay people that are not working for you

     15    anymore.      But,    yeah,      if it's simply that now we know it's a

     16    more competitive market and,              therefore, we're giving you

     17    this raise, which,           you know, we're not promising to do this

     18    forever,     but at least for now, we're paying you X dollars

     19    more in every paycheck,             that doesn't sound like a bonus

     20    program per se.          I mean that's just a raise of some kind.

     21                  But anyway,         look at it further and,   yes,   give us

     22    more detail at the final hearing and if you conclude that

     23    this is something for which you need a separate approval or

     24    maybe it's out of the ordinary course for this debtor and,

     25    therefore,      you need to at least send out a notice that




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       1   you're doing this and see if there's -- I don't know.                    But

       2   think it through and I don't -- I'm not going to worry

       3   about it today.           It doesn't seem like it's a big number.

       4   It seems more like you're just paying your employees more.

       5                 Okay.      All right.       When do you want to send out

       6   notice of the final hearing on this one?                How quickly do

       7   you want to do that?

       8                 MR. FRITZ:         Your Honor, may I suggest that we use

       9   next week, Tuesday's date,               since that's what we're using

     10    for the utilities?

     11                  THE COURT:         Okay.     To send out final -- notice of

     12    the final hearing on 1/25.               Let's set the final hearing --

     13    I don't think we want to wait all the way until March 9.

     14    1/25.     Supposed to do it on a fully-noticed basis, so let's

     15    see.    One, two, three             okay.    Why don't we do February 16

     16    at 11:00 for the final hearing and then let's have -- that

     17    would mean any oppositions -- that's kind of tight, but,

     18    yeah, we'll give a little extra time.               All right.     Why

     19    don't we say any oppositions by February 4, replies by

     20    February 10.         And if you want to do any supplemental papers

     21    from the debtor/updates to the budget, let's get those

     22    filed by February 1, if you can.                Doesn't give everybody

     23    else much time to respond to that, but we'll,               you know --

     24    if they complain they need more time, we'll continue the

     25    hearing if we have to, but -- have another interim hearing




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       1   if we need to.

       2                 But, all right.         So you're going to mail the

       3   papers with the notice -- oh, and in the meantime, I'm

       4   going to authorize tentative -- authorize the debtor to use

       5   as little cash as it needs to.                So don't go -- don't prepay

       6   anything, pay as little as you need to but in accordance

       7   with the budget with the 15 percent variance between the

       8   petition date and the date of the final hearing, which

       9   we're setting for -- the conclusion of the final hearing,

     10    which we're setting for February 16 at 11:00.               And you're

     11    going to mail the moving papers by January 25th and

     12    oppositions are going to be due February 4th, replies by

     13    February 10.

     14                  If the debtor wants to give us a -- change the

     15    budget or supplemental updates or anything else new you

     16    want to tell us about, try to do that by February 1, and I

     17    think that's it.           Order to      from debtor.

     18                  All right.         Questions?    No?

     19                  MR. FRITZ:         Not about the cash collateral, Your

     20    Honor.

     21                  THE COURT:         All right.    Other questions?

     22    Anything else we should do today?

     23                  MR.    FRITZ:      Your Honor, if I may impose on the

     24    Court?     I was just -- I just wanted to know if it's

     25    possible to have that payroll motions signed and entered so




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      1   that we can show that to Chase this morning so that they're

      2   comfortable in allowing that wire to go out

      3                 THE COURT:         I

      4                 MR. FRITZ:         -- to ADP?

      5                 THE COURT:         I did it already.      I approved it for

      6   entry.     It'll magically happen now that I did my part.                    So,

      7   yeah,    I went through that and I made those changes -- or

      8   you're talking about cash collateral?                You said payroll.

      9   Do you mean cash collateral?

     10                 MR. FRITZ:         No, payroll, Your Honor.

     11                 THE COURT:         Yeah.    Yeah.

     12                 MR. FRITZ:         Yes, that's --

     13                 THE COURT:         I already approved that, so that's           --


     14                 MR. FRITZ:         Okay.

     15                 THE COURT:         --   that's -- yeah,   that -- who knows?

     16   That might be approved even as we speak.                But i t ' l l happen

     17   shortly and then you can check, you know                   check the

     18   docket and it should show up and you should get that.                    I

     19   don't know how you get your notices of entry of things.

     20   You know,     sometimes you get the digest version, it may not

     21   come through.         But you should be able to see on the docket

     22   as soon as they enter it, and they will enter it right away

     23   I think.      I'll ask.

     24                 MR. FRITZ:         Thank you, Your Honor.      Thank you for

     25   setting this on an emergency basis and for preparing for




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      1   the hearing with your staff, and thank you to all the

      2   counsel that participated for all their cooperation making

      3   this a very smooth process.               I know the company appreciates

      4   it very, very much.

      5                 THE COURT:          All right.     And I appreciate you all

      6   talking to one another and working things out.                 So -- oh,       I

      7   just got a little note the order has been entered.                    So if

      8   you go online,        you'll be able to print yourself an inter

      9   version.      So all right --

     10                 MR. FRITZ:          Thank you, Your Honor.

     11                 THE COURT:          -- look at that.     Aren't we

     12   efficient?        Yah.     All right.     Okay.     Thank you very much.

     13   That concludes the matters on calendar for Thursday,

     14   January 20th.         We are off the record.          Thank you.

     15                 MR. FRITZ:          Thank you, Your Honor.

     16                 THE COURT:          Thank you.

     17                 MR. ESCOBAR:          Thank you.

     18                 MR. GOLD:          Thank you.

     19                 THE COURT:          Okay.

     20   (End at 11:02 a.m.)

     21                                     * * * * * * * *
     22

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     25




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       1                  I certify that the foregoing is a correct

       2   transcript from the electronic sound recording of the

       3   proceedings in the above-entitled matter.




       6                                                     Date:   2/01/2022

       7   RUTH ANN HAGER,          C.E.T.**D-641

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                              UNITED STATES BANKRUPTCY COURT

                   CENTRAL DISTRICT OF CALIFORNIA - LOS ANGELES

                                          --oOo--

        In Re:                        )           Case No. 2:22-bk-10266-BB
                                      )
        ESCADA AMERICA, LLC,          )           Chapter 11
                                      )
        Debtors,                      )           Los Angeles, California
                                      )           February 8 2022
        ------------------------------)           Tuesday, 9:15 A.M.

                             TRANSCRIPT OF 341(a) PROCEEDINGS

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              LOS ANGELES, CALIFORNIA, TUESDAY, FEBRUARY 8, 2022,

                                            9:18 A.M.

                                             --oOo--

                      MR. ESCOBAR:         Good morning.   This is an initial

        341(a) meeting of creditors for Escada America, LLC, case

        number 2:22-bk-10266-BB.             Today is February 8, 2022.       It is

        now 9:18 a.m.         This is Eryk R. Escobar, trial attorney on

        behalf of the U.S. Trustee.

                      These proceedings are being recorded.          Because

        these proceedings are being recorded, I ask that we all

        speak slowly and try not to speak over one another.                  Before

        speaking, if you could state your name so we all know who

        is speaking that would be appreciated.

                      May I have appearances from debtor’s counsel,

        please?

                      MR. FRITZ:         J. P. Fritz for Levene, Neale,

        Bender, Yoo & Golubchik for the debtor and debtor in

        possession.

                      MR. ESCOBAR:         Thank you, and, Mr. Walsh, may I

        have you state your name and relationship to the debtor for

        the record, please?

                      MR. WALSH:         Certainly.    My name is Kevin Walsh.

        I’m a finance director for Escada America, LLC, the debtor.

                      MR. ESCOBAR:         Thank you, and do we have an

        appearance by in-house counsel for the debtor?




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                      MR. DePATIE:          Yes.   This is Anthony DePatie,

        D-E-P-A-T-I-E, on behalf of the debtor.

                      MR. ESCOBAR:          Thank you.   And may I have an

        appearance by the Sub-Chapter 5 Trustee for the record,

        please?

                      MR. JONES:          Good morning, Your -- good morning,

        Eryk.     Greg Jones, Sub-Chapter 5 Trustee.

                      MR. ESCOBAR:          Thank you.   Okay.   May I have

        appearances from Mr. Gold, please?

                      MR. GOLD:          Good morning.   Ivan Gold of Allen

        Matkins for eight of the debtor’s former landlords

        affiliated with Simon Property Group, Allen Moana Center

        (phonetic) and the Beverly Wilshire.

                      MR. ESCOBAR:          Thank you.   May I have appearances

        by Mr. Cannizzaro, please?

                      MR. CANNIZZARO:          Good morning.     John Cannizzaro

        of Ice Miller, LLC for landlord 717 GFC, LLC.

                      MR. ESCOBAR:          Thank you.   Okay.   Appearances from

        anyone else who has joined us on the call who has not had

        the opportunity to make their appearance for the record?

                      (No response.)

                      MR. ESCOBAR:          Hearing none, I will proceed.

        Mr. Fritz, will it be Mr. Walsh testifying on behalf of the

        debtor or Mr. DePatie, as well?

                      MR. FRITZ:          Mr. Walsh.




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                      MR. ESCOBAR:         Okay.   All right.   Mr. Walsh, would

        you please raise your right hand so I might swear you in?

        Do you --

                      MR. WALSH:         Yes.

                      MR. ESCOBAR:         Thank you.

                                         KEVIN WALSH, SWORN

                      MR. ESCOBAR:         Thank you.

        EXAMINATION BY MR. ESCOBAR:

              Q.      Do you understand that this is the same oath that

        you would take in a court of law and subject to the penalty

        of perjury?

              A.      I do.

              Q.      Please note that if there are any objections,

        they are for the record only.              If you can respond, please

        do so unless Mr. Fritz or Mr. DePatie instructs you not to

        answer.      Do you understand?

              A.      Yes, I do.

              Q.      Thank you.         Is there any reason, medical or

        otherwise, why you would not be able to testify truthfully

        today?

              A.      No, there’s not.

              Q.      Okay.      And just so that you know kind of what’s

        happening, I have my phone on speaker and then I have that

        next to the recorder.             So if you could just speak up a

        little bit more, that way I make sure that this is being




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        recorded properly, that would be appreciated.

                      Okay.      As we go through the proceedings, if at

        any time you do not understand my question, please let me

        know and I will try to rephrase my question.              Do you

        understand?

              A.      Yes, I do.

              Q.      Thank you.         If you are guessing or estimating,

        please tell me that it is a guess or estimate.              It’s okay

        to say you do not know if you truly do not know.              Do you

        understand?

              A.      Yes, I do.

              Q.      Thank you.         Okay.   Did you read and review the

        bankruptcy schedules and statements before you signed them?

              A.      Yes, I did.

              Q.      Okay.      And are they true and correct to the best

        of your knowledge?

              A.      Yes, to the best of my knowledge.

                      MR. ESCOBAR:         Thank you.   And for the record, I

        did receive word of amendments filed last night.

        BY MR. ESCOBAR:

              Q.      Okay.      And, Mr. Walsh, returning to you, I do

        want to note that the signatures on these schedules and

        statements appears to be an electronic signature, as

        opposed to, say, a holographic signature.              Is that correct?

              A.      That’s correct.         They’re electronic signatures.




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              Q.      Okay.      Did you authorize the use of this

        electronic signature on your behalf?

              A.      Yes, I actually executed them myself.

              Q.      Okay.      And that was my next question.       So you

        caused these electronic signatures to be placed on these

        schedules and statements, correct?

              A.      Correct.

              Q.      Okay.      Perfect.       Thank you so much for that.

                      MR. ESCOBAR:         Mr. Fritz, would you tell us a bit

        about this case and the reasons for filing bankruptcy?

                      MR. FRITZ:         Yes.    The debtor was formed as a

        Delaware limited liability company in 2009.              It’s a

        national specialty retailer selling high-end ready to wear

        women’s apparel with its main office is Beverly Hills, and

        as of the petition date, it had ten retail stores across

        seven states in the United States and an office in New York

        City with over 50 full-time employees.

                      The debtor’s real estate business is generally

        known to the public and branded as Escada.              The debtor uses

        the Escada brand via a licensing agreement and for several

        decades, Escada has been a global retail brand, high

        fashion, high-end rated ready to wear apparel for with an

        emphasis on high fashion evening wear.

                      On a global scale, Escada has various retail

        stores and subsidiaries in several countries in Europe,




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        including, but not limited to Spain, England and Germany.

        Escada also has retail stores in North America, including

        the debtor, which operates Escada’s brick-and-mortar retail

        business only in the United States.             All right.

                      MR. ESCOBAR:        Okay.

                      MR. FRITZ:         During -- the current management took

        ownership of Escada in 2019 and had a plan to turn around a

        distressed Escada business and at the outset of

        implementing that plan, COVID-19 happened in early 2020 and

        then the whole plan was disrupted by that and the debtor

        has been attempting to recover and reorganize the

        distressed business since that time.

                      Over that period, negotiations with landlords

        have taken place, some with success, some without success,

        and so ultimately the debtor decided in its reasonable

        business judgment to file for bankruptcy to address the

        leases and right size its business and continue operating

        using the benefits of the Bankruptcy Code for -- at the

        landlord plans and proposing a plan.

                      MR. ESCOBAR:         Okay.   I’d like to go back to the

        statement you said about current management.              I understand

        from the petition that the own -- sole owner, right, of the

        debtor is Escada Store Services, LLC.             Is that what you

        mean when you say current management or did you mean

        something else, other people or other entities?




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                      MR. FRITZ:         It’s my understanding that a

        complete, separate, third party owned Escada --

                      MR. ESCOBAR:         Uh-huh.

                      MR. FRITZ:         -- up until 2019 --

                      MR. ESCOBAR:         Okay.

                      MR. FRITZ:         -- and that the current ownership

        came in and -- and bought that at in arms-length, third

        party transaction.

        BY MR. ESCOBAR:

              Q.      Okay.      And do -- Mr. Walsh, if you know, do you

        know who the people or entities are who own Escada Store

        Services, LLC?

              A.      Well, I can confirm that we’re owned by Escada

        Store Services, LLC.             I -- I’m not exactly sure of the full

        ownership of Escada Store --

              Q.      Okay.

              A.      -- Services, LLC.            I think, and I’m just calling

        out, it’s my understanding that that is most likely Michael

        Reinstein.

                      MR. ESCOBAR:         Mr. Fritz, do you know the answer

        to that to -- same question?

                      MR. FRITZ:         Yeah.   Mr. Walsh’s answer is

        consistent with the information that I’ve seen that it’s

        Michael Reinstein who owns Escada’s Store Services, LLC.

                      MR. ESCOBAR:         Okay.     And can you spell his last




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        --

                      MR. FRITZ:         I believe --

                      MR. ESCOBAR:         -- name for --

                      MR. FRITZ:         I believe that that’s listed on the

        equity security holders.            It’s spelled R-E-I-N-S-T-I-E-N

        [sic].

                      MR. ESCOBAR:         Okay.    And, I’m sorry.   You said

        you believe that’s listed where?

                      MR. FRITZ:         I believe it’s listed in the petition

        package.

                      MR. ESCOBAR:         I mean, I do see in the

        declaration --

                      MR. FRITZ:         You --

                      MR. ESCOBAR:         -- of -- sorry -- in the list of

        equity security holders Escada Store Services, LLC is

        listed as 100 percent owner of the debtor and so I didn’t

        see Mr. Reinstein’s name.            Maybe I missed it, but I don’t

        think -- I wouldn’t think it --

                      MR. FRITZ:         Yeah.    I think --

                      MR. ESCOBAR:         -- would be in the petition.

                      MR. FRITZ:         -- I think he’s --

                      MR. ESCOBAR:         So --

                      MR. FRITZ:         I believe he’s in a section where the

        insiders are called out and listed.

                      MR. ESCOBAR:         Okay.   I’ll look out for that.     All




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        right.     So it’s our understanding, as we sit here today,

        that Mr. Reinstein is owner of Escada Stores Services, LLC,

        who, in turn, owns the debtor 100 percent.                 Okay.

                      MR. FRITZ:         Correct.

        BY MR. ESCOBAR:

              Q.      Okay.      Mr. Walsh, returning to you, has the

        debtor paid any pre-petition obligations since the filing

        of the bankruptcy case?             So that is to say, obligations

        that it had pre-petition before the filing of the

        bankruptcy.        Have those been paid after the filing of the

        bankruptcy?

              A.      I can confirm that the debtor has not paid any

        pre-petition claims --

              Q.      Okay.

              A.      -- after the filing.

              Q.      Okay.      Thank you.     And has --

              A.      With the exception of a payroll pursuant to the

        court order.

              Q.      Of course.

              A.      That’s a good clarification to the extent that,

        yeah, there was some portion of that.               Yes.

              Q.      Okay.      Has the debtor paid any professionals?             So

        by that, I mean professionals of the debtor such as

        attorneys, accountants, CPAs?               Has the debtor paid any

        professionals since the filing of the bankruptcy case?




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               A.     We have not.

               Q.     Okay.      Are you aware of the obligation that the

        debtor has to file monthly operating reports?

               A.     I am.

               Q.     Is the debtor current on post-petition expenses

        and tax obligations, if any?

               A.     Yes, we are.

                      MR. ESCOBAR:       Okay.   And so for everyone on the

        call, in case anyone wants to follow along, I am starting

        with the -- I’m just going to go through my questions on

        the schedules.          That’s Docket #75.    Again, Docket Entry

        #75.

                      I’m just going to work my way through that if

        folks what to have that in front of them, you’re more than

        welcome to do that.

                      Same for you, Mr. Walsh.        Okay.

        BY MR. ESCOBAR:

               Q.     So I see that the debtor owns 100 percent

        interest in Escada Online U.S. LLC, correct?

               A.     Correct.

               Q.     Okay.      What is the nature of the business for

        Escada Online?

               A.     Escada Online handles the online transactions or

        sales for Escada on behalf of Sourcing and Production.

               Q.     Okay.      So Escada Online handles the online




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        transactions and sales for the debtor?

                A.    (No response.)

                Q.    Is that correct?

                A.    No.     The inventory, Escada inventory in the U.S.,

        is owned by Escada Source and Production.             It’s one of the

        secured creditors.

                Q.    Okay.

                A.    So it markets that product just in the online

        channel as a separate entity as opposed to the debtor,

        Escada America LLC, and which markets that product on

        behalf of Sourcing and Production via stores, brick-and-

        mortar stores.

                Q.    Okay.      All right.   So we have basically three

        different entities here we were just talking about.                  So we

        have Escada Online, Escada Sourcing and Production, and I

        do see them as a secured creditor, and then the debtor.

        Okay.     Just trying to keep it all in order because they all

        use Escada.        So okay.

                      So they -- does the debtor have any online

        transactions or sales of its own?

                A.    It does not.

                Q.    Okay.      Has Escada -- well, does Escada Online

        have its own bank accounts?

                A.    It does.

                Q.    Okay.      And has it always had separate bank




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        accounts from the debtor?

              A.      It has.

              Q.      Okay.      And is Escada Online currently operating?

              A.      It is.       Yes.

              Q.      Is Escada Online currently operating with

        positive net profits or is it losing money?

              A.      It is probably losing money depending on the time

        period we -- we look at, but it’s break -- break even in

        some periods to loss given and most recently losing.

              Q.      Okay.      And just once again, I’m sorry, I’m going

        to have to ask you to speak up just a little bit more.                Do

        you handle the finances --

              A.      Sorry.

              Q.      That’s okay.         Do you also handle the finances for

        Escada Online or is that someone else?

              A.      Yes.      The finances and accounting themselves are

        handled out of a shared service environment, but I

        certainly have knowledge of them, yes.

              Q.      Okay.      Okay.     I am now looking still at Schedule

        AB, Item Number 72.              So that would be page 9 of the .pdf

        itself or page 7 of Schedule AB.              The debtor listed unused

        NOLs, however a substantial portion of the unused NOLs is

        subject to an IRC 382 disallowance related to a pre-

        petition acquisition.

                      Mr. Walsh, can you explain this a little bit




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        more?     Flush it out for me?

                A.     Well, I’ll take a stab at it.        I’m -- I’ll just

        say for the record that I’m not a tax expert and I rely on

        our tax advisors, as well as some internal tax responsible

        folks.       So I’ll only try to address this at a high level in

        the --

                Q.     Sure.

                A.     -- understanding that was conveyed to me.             The

        list that we gave on the NOLs that’s part of the filing

        represents the operating losses from the companies over the

        period of time called out here --

                Q.     Uh-huh.

                A.     -- and also would be consistent with tax returns

        filed for the years in question.           In terms -- so in full

        transparency, all of those have been included in this

        filing.

                       However, when you get to the disallowance, my

        understanding from the experts is that because Escada was

        acquired in late 2019 and had a change in ownership, the

        entity, the debtor, does not get full use going backwards

        of those NOLs.          There’s a disallowance that happens due to

        the change of control, again, that happened in 2019.                 So

        that’s about the level that I’m comfortable discussing and

        understanding.

                       I also was told that it’s a fairly complex




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        calculation and project, you know, to confirm those and

        calculate the exact amount has not been done to date only

        because of the losses that the company’s been incurring.

                       So I hope that that helps sets -- shed some light

        on that comment.

                Q.     It certainly does for me, and so just to clarify

        then, when this description here on Schedule AB where it

        says, “Disallowance related to a pre-petition acquisition,”

        the pre-petition acquisition in question there is the

        pre-petition acquisition of the debtor itself by new

        management, correct?              That’s what we’re talking about

        there?

                A.     Correct.

                Q.     Okay.     Okay.      So it’s not some acquisition of

        something -- some other --

                A.     In the --

                Q.     -- property or company or anything like that.

        Okay.

                A.     No.    No.        It -- the change in ownership and

        management of Escada America, the debtor, back in 2019 that

        Mr. Fritz highlighted earlier.

                       MR. ESCOBAR:         Okay.   Okay.   I am now turning to

        Schedule D for -- so for anyone following, that’s page 13

        of the PDF.        Again, that’s Docket Entry Number 75.          All

        right.       Okay.




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        BY MR. ESCOBAR:

              Q.      Eden Rock International, LLC, who owns Eden Rock,

        if you know, Mr. Walsh?

              A.      I don’t know the ownership of that.          My

        assumption is that Michael Reinstein owns that, as well,

        and it’s -- it’s a related company of the group and I’m

        almost 100 percent sure he’s the -- he’s the full owner.

              Q.      Okay.      And what is the relationship between Eden

        Rock and the debtor?

              A.      There’s not a day-to-day relationship.             It did

        provide some financing during the strain of COVID in order

        to allow Escada to make some payments to landlords.                  So

        it’s a financing party for the overall portfolio of

        companies.

              Q.      Okay.      And then is Eden Rock a parent company, a

        sister company, a subsidiary of the debtor?

              A.      It’s not a parent or a subsidiary.          I guess I

        would categorize it as an affiliated company.              It’s neither

        above or below Escada America, to the best of my knowledge,

        in terms of a chart.

                      MR. ESCOBAR:       Okay.   All right.

                      Mr. Fritz, do you have any additional information

        on this?      I guess where I’m -- what I’m trying to flesh out

        is, and I’m going to do this for every secured creditor, at

        least it’s my intention to, is to kind of flesh out why




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        this creditor is considered an insider or related party?

                      MR. FRITZ:         For sure.    I think it’s -- I think it

        fits into the definition of affiliate under the Bankruptcy

        Code as being a sister kind of -- a sister company, as you

        called it.

                      MR. ESCOBAR:         Um-hum.

                      MR. FRITZ:         If it’s not a parent, it’s not a

        subsidiary, but it -- if you roll up to some level of

        common ownership and then roll back down, it would be an

        affiliate under that kind of scenario.

                      MR. ESCOBAR:         Okay.

                      MR. FRITZ:         And I think that’s going to be true

        for the other secured creditors, such as those insiders on

        this chart.

                      MR. ESCOBAR:         Okay.     So who at the debtor or who,

        in general -- I guess they don’t have to be at the debtor.

        Who would be able to speak under oath about the exact

        relationship between these one, two, four secured creditors

        and the debtor?

                      MR. FRITZ:         I know that we have -- although not

        under oath, I -- I don’t know if Mr. Walsh -- Mr. Walsh is

        under oath and I don’t know if the debtor’s in-house

        counsel might be able to shed more light on it, although

        he’s not under oath.

                      MR. ESCOBAR:         Sure.     And I normally don’t put




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        counsel, even when they’re in-house counsel for the debtor,

        under oath simply because they are counsel so they are

        officers of the court and so I would expect them to abide

        by all their ethical requirements.

                      So, Mr. DePatie, do you know anything about the

        relationship between these four secured creditors and the

        debtor?      Would you be able to school to that?

                      MR. DePATIE:       Yes.    So Eden Rock is not -- it’s

        under common control, but it’s, as my colleagues have

        pointed out, it’s neither a subsidiary nor a parent.                 Eden

        Rock is simply another business, separate business, under

        common ownership which provided the financing to the debtor

        throughout COVID to basically keep the debtor alive, to

        make it as far down the road as it has now made it.

                      But as Kevin Walsh pointed out, there is no

        day-to-day ongoing relationship or, you know, there’s no

        vendor, kind of, relationship party day-to-day.

                      MR. ESCOBAR:       Okay.

                      MR. DePATIE:       It may -- it made a loan to -- for

        the debtor to -- allowed to survive up until now.               Yeah.

                      MR. ESCOBAR:       Okay.   So, Mister --

                      THE WITNESS:       I can confirm that.     I can confirm

        that and also confirm that there has been no other

        transactions except for that one time loan.

                      MR. ESCOBAR:       Okay.    And that was you speaking,




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        Mr. Walsh, just now?

                      THE WITNESS:         Apologize.   I didn’t -- yes,

        it’s --

                      MR. ESCOBAR:         Okay.

                      THE WITNESS:         -- Kevin Walsh.

                      MR. ESCOBAR:         Thank you.   That’s okay.    Thank

        you.

                      Okay, Mr. Fritz, I’m going to flag this as an

        item that I’m going to include in my kind of all

        encompassing email to you at -- after the 341(a).                I think

        I’m going to want to see a chart of sorts.              Usually charts

        will help me.

                      I’d like to see how these four secured creditors

        are connected to the debtor such that they are insiders or

        related parties.           All right.

                      MR. FRITZ:         Understood.

                      MR. ESCOBAR:         Okay.   All right.   Moving right

        along.      I’m looking at Claim 2.2, still on Schedule D, for

        Escada Sourcing.

        BY MR. ESCOBAR:

               Q.     I didn’t see a date.          I don’t know if maybe it

        just cut off somehow, but I didn’t see a date upon which

        the debt was incurred.            I’m wondering if that is

        intentional, just an oversight?

               A.     I would say that it’s -- it’s ongoing and --




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              Q.      Um-hum.

              A.      -- and also, as you look back, same -- same

        response.       There’s a portion of this, which represents

        legacy debt of the debtor to this entity for -- for prior

        debts and it’s also the entity that had the consignment

        relationship as it’s kind of called out in 2.3 of the owner

        of the inventory, which the debtor markets in the U.S.

              Q.      Okay.      And I do definitely understand that.

              A.      It’s made above kind of ongoing transactions --

              Q.      Right.

              A.      -- forward and backward.

              Q.      Right.       Okay.   So that makes sense to me.        But

        the UCC itself, I mean that was filed or recorded on a

        specific date, right?            Like there aren’t ongoing UCCs being

        filed?

              A.      Correct.

              Q.      Okay.      Do you know when that UCC was filed or

        recorded such that Escada Sourcing became a secured

        creditor?

              A.      It’s -- I know it’s in the file.

              Q.      Okay.      All right.

              A.      Let me see.

              Q.      I’ll take a look.        I think I do recall seeing --

              A.      I can --

              Q.      -- something with --




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                A.    -- I can look --

                Q.    -- the first day motions.

                A.    -- for it while we --

                Q.    Okay.

                      MR. FRITZ:         It’s -- and, Eryk, this is J.P.

        Fritz.

                      MR. ESCOBAR:         Yes.

                      MR. FRITZ:         As part of the first day filings --

                      MR. ESCOBAR:        Yeah.

                      MR. FRITZ:         -- there’s a declaration by me with a

        UCC report.

                      MR. ESCOBAR:        Okay.   I’ll take --

                      MR. FRITZ:         I believe it’s a date in February of

        2021.

                      MR. ESCOBAR:         February of 2021.   Okay.

                      MR. FRITZ:         And it’s my understanding that the

        consignment, the UCC-1 consignment, is filed in a matter of

        beginning notice of the consignment, not that it’s a

        secured debt.

                      MR. ESCOBAR:        Okay.   Okay.   I’m looking at Claim

        2.3 now, so page 14 of the .pdf.

        BY MR. ESCOBAR:

                Q.    So in response to is the creditor an insider or

        related party, the debtor marked the no box, is that

        correct?




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                      MR. FRITZ:         That -- this is J.P. Fritz.     That

        looks like an error.             That needs to be -- we’ll -- we will

        amend that.

                      THE WITNESS:        Agree with that.   We separately

        include them on a list of insiders and another section to

        filing.

                      MR. ESCOBAR:        Okay.   And I think I have that

        section marked as a question because it did confuse me when

        I was looking at this, but also I think a slightly

        different name was used and so I just wanted to clarify, so

        we’ll get to that in a minute.            Okay.   So -- okay.

        BY MR. ESCOBAR:

              Q.      So it is the testimony today that Escada Sourcing

        and Production LLC is an insider or related party of the

        debtor, correct?

              A.      Yeah.      This is Kevin Walsh.     Correct.

              Q.      Okay.      And this claim is -- (indiscernible).          The

        property that is the security is legacy debt related to

        other entities?          That’s the security or that’s the nature

        of the debt?         I’m confused by that description.

              A.      Nature.

              Q.      Okay.

              A.      We can come back and confirm that but, you know,

        my understanding is Source and Production acquired a debt,

        you know, Escada America’s prior obligations to a prior




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        creditor.

              Q.      I see.

              A.      But we can confirm.

              Q.      Okay.      So that -- so then the --

              A.      (Indiscernible) say that --

              Q.      -- the legacy debt --

              A.      -- (indiscernible).

              Q.      The legacy debt itself is not the security.            What

        is the security?

              A.      Yeah.      That might be more of a legal term, but I

        don’t -- I -- I’m not sure that I’m prepared to answer.

        I’d probably say we can confirm and come back to you, if

        that’s okay?

              Q.      Okay.      Yeah, that’s fine.    All righty.    Okay.

        I’m jumping now to Schedule EF and I’m going to page 17.

        For Claim 3.1, it’s 6935th Owner, LLC.            The basis for the

        claim is rent.          The debt marked that this claim is

        contingent and unliquidated.

                      So starting with contingent, why is this claim

        contingent?

                      MR. FRITZ:         This is J. P. Fritz.   Eryk, could you

        please let me know which number you’re looking at again?

                      MR. ESCOBAR:        Yes.   I’m starting with Claim 3.1.

        That’s on page 17 of the .pdf or page 2 of Schedule

        EF, 6 --




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                      MR. FRITZ:         Okay.   I think that that might be

        more of a legal question.            In looking at how to calculate

        claims related to commercial leases there are a number of

        variables based on Bankruptcy Code Sections 502(b)(1),

        502(b)(6), 365 and whether the lease is going to be assumed

        or rejected and what sort of date might be used under

        502(g) in calculating the resulting claims and then what

        also might be available in terms of state law and offset

        and cover damages and trying to figure out what the claim

        would be, if any, and how it was -- resulted in so many

        different permutations that it could be that the claim

        might not be fully appreciable and, therefore, contingent.

                      MR. ESCOBAR:         Okay.   So what I heard in all that

        was the contingency, right, the thing that might happen or

        not happen is a lease being assumed or rejected.              Was there

        anything else in there that I missed, some other

        contingency, some other event that could or could not

        happen?

                      MR. FRITZ:         I think your summary is accurate.

                      MR. ESCOBAR:         Okay.

        BY MR. ESCOBAR:

              Q.      And so this claim here for $1,641, is that

        pre-petition arrears?

              A.      Yeah.      So it would have been -- this is Kevin

        Walsh.     It would have been pre-petition and probably some




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        small arrearage related to miscellaneous fees.                I don’t

        have the details in front of me, but fairly minor in

        nature.

                Q.    Okay.

                A.    You’re speaking about 3.1, right?

                Q.    Yes.      Um-hum.     Okay.

                A.    Yeah.

                      MR. ESCOBAR:         All right.    So as to not take up so

        much time, because there are other parties here who I’m

        sure have questions, I’m not going to ask the same question

        for each unsecured debt where the basis for the claim is

        rent, because I will take it as a given that the

        contingency that is being claimed as to each is the same

        answer basically, that it’s unknown if the lease will be

        assumed or rejected.

                      Is that fair, Mr. Fritz?

                      MR. FRITZ:         Yes.

                      MR. ESCOBAR:         Okay.    So I’m just going to then

        try and focus on any that don’t list rent as the basis for

        the contingent box being marked.               Rent, rent, rent, rent,

        rent.     Could be all of them.            Rent, rent.   Okay.

                      I’m going to jump to 3.47.           So that’s on page 24

        of the .pdf or page 9 of Schedule EF.               So this is the claim

        for Cushman & Wakefield.            It is also marked as contingent.

        It’s a lease for accounting services.




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        BY MR. ESCOBAR:

              Q.      Would this be the same answer?         I know it’s not

        like a -- the lease -- type of leases we were just

        discussing with landlords, but I -- it's described as a

        lease.     So is that the same answer?

              A.      I don’t want to misspeak, but Cushman & Wakefield

        is around these accounting services provided in the context

        of leases --

              Q.      I see.

              A.      -- and is a former vendor and current creditor.

              Q.      Okay.      So the debtor doesn’t have a lease with

        Cushman & Wakefield.             They’re providing accountants --

        accounting services with respect to leases that the debtor

        has with other people.            Okay.

                      So what is the contingency for this claim?             What

        event has to happen or may not happen?

              A.      I believe, and apologies on the legal component

        of this and definition of contingency.            I’ll defer to

        Mr. Fritz, but it’s possible that that should not be

        checked and it was checked in error for this one.

              Q.      Okay.

              A.      But it -- I guess it ultimately depends, and

        maybe the basis for it is, you know, depends how many

        leases are managed and, yeah, I --

              Q.      Well, so let me ask this.        The 43,000 and change




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        listed here for this claim, this represents monies owed to

        Cushman for services that they provided pre-petition,

        correct?

              A.      It does, yeah.

              Q.      Okay.      And they provided these services, right?

        They’ve completed their services, is that correct?

              A.      Yeah.      I think there was some dispute on that

        including records and things like that.                Yeah.

              Q.      Okay.

              A.      But the services, I can confirm the services were

        pre-petition.

              Q.      They were pre-petition.          Okay.    And how is --

        what -- how -- what’s the contract relationship between

        debtor and Cushman, meaning are they paid at an hourly

        rate, is it a kind of flat fee per lease that they’re

        looking at for you?              How does that work?

              A.      Yeah, more the latter.          They were paid based on

        properties that the debtor had and the support that they

        did for us as the debtor.

              Q.      Okay.      So they were paid more of a flat fee per

        property that they looked at on your behalf -- on the

        debtor’s behalf, is that correct?

              A.      Correct.

              Q.      Okay.

              A.      Correct.




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                      MR. ESCOBAR:        Okay.   Mr. Fritz, did you have

        anything to add on this one?

                      MR. FRITZ:         Only that I’m going to have to take a

        look at the contract and see if there’s something in the

        nature of the claim in terms of commission or if there’s

        any triggering events --

                      MR. ESCOBAR:        Uh-huh.

                      MR. FRITZ:         -- as to this claim that might make

        it contingent and we will look into it and if an amendment

        is appropriate, we will make that amendment.

                      MR. ESCOBAR:        Okay.   Thank you.   All right.

        Let’s jump to Claim 3.62.            That’s on page 26 of the .pdf

        page 11 of Schedule EF.            This is for Funaro & Company.      The

        contingent box is marked and the basis for the claim is tax

        services.

        BY MR. ESCOBAR:

                Q.    So same question here.         What’s the contingency

        here?     What event has to happen, hasn’t happened?

                A.    Yeah.      I -- this is for tax services, I think

        historical tax services, and I know that there hasn’t been

        a completion of handover records, work papers, things like

        that, in its entirety.            So I’m pretty sure that’s why this

        is indicated as contingent.

                Q.    Okay.      And then the dollar figure -- the claim,

        sorry, represents monies owed by the debtor to Funaro for




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        pre-petition tax services, correct?

                A.    Correct.

                Q.    Okay.      And so the contingency that is kind of

        outstanding is the turnover of documents by Funaro to the

        debtor?

                A.    Correct, at a high level, yes.

                Q.    Okay.      All right.   Anything else?    Any other

        contingency on this one?

                A.    (No audible response.)

                Q.    Okay.

                A.    No, not --

                Q.    So --

                A.    -- not that I’m aware.

                Q.    Okay.      All right.   And, as I said earlier, I’m

        skipping past all the ones -- all the claims that are based

        on rent, because I’m assuming that we’ve already said this,

        that it’s the same answer, so I’m just flipping through

        here.     Okay.      I think that gets me through Schedule EF and

        this line of questioning.

                      So I think, right, if I’m not mistaken, some of

        the landlords that were listed in Schedule EF as contingent

        and the basis for the claim being rent, those include the

        landlords whose leases were rejected during the first day

        filings.

                      So what is the contingency as to those landlords




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        who are in a different position because their lease has

        already been rejected, and I understand that was the answer

        previously given, right, for all leases.             But this one’s

        different.       These landlords are in a different position.

                      So what’s the answer as to them?         Why are their

        claims still contingent or are they no longer?

                A.    They were -- they’re contingent as of the

        petition date and --

                Q.    Right.

                A.    -- the schedules reflect --

                Q.    Okay.

                A.    -- the situation as of the petition date.

                Q.    Okay.      All right.   Okay.   I am now looking at

        Exhibit 3 to the SOFA, which is page 54 of the .pdf itself.

        There’s no other page number.           Again, Exhibit 3 to the

        SOFA.     It’s the exhibit that I believe lists all payments

        or transfers within 90 days of the petition.

                      I’m looking at the entry for Escada Desert Hills

        Premium Outlets.           Who or what is that entity?

                A.    That is the landlord for the Cabazon location.

                Q.    Okay.      And --

                A.    The Cabazon store.

                Q.    Okay.      And is Escada Desert Hills --

                A.    Hills.

                Q.    -- Premium Outlets an insider of the debtor?




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              A.      No.     It’s a -- the landlord is actually under the

        assignment umbrella for that property.                It might just be

        likely as just internal nomenclature that that Escada was

        attached there as a -- as a location.

              Q.      Okay.

              A.      Meaning the Desert Hills store.

              Q.      Okay.      So as --

                      MR. GOLD:          This is Ivan Gold.    I represent Simon

        in this matter.          I can tell you that all four of these,

        there are four --

                      MR. ESCOBAR:          Yes.

                      MR. GOLD:          -- locations here that are listed with

        the Escada name that are not Escada that’s the name of the

        store.

                      MR. ESCOBAR:          Okay.

                      MR. GOLD:          Desert Hills, Woodbury Commons,

        Sawgrass Mills, Las Vegas North Outlets all have the

        Escada --

                      MR. ESCOBAR:          Right.

                      MR. GOLD:          -- name affixed to the landlord name.

        There is no such entity with an Escada name and these

        entities are properly described elsewhere.               There’s just a

        flaw in the chart.

                      MR. ESCOBAR:          Okay.    That answers my confusion.

        Thank you.




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                      All right.         Turning to Exhibit 4 then on the next

        page, Exhibit 4 to the SOFA.              So this is payments and

        transfers within one year.               I think I’m probably --

        Mr. Fritz, I’m probably going to also going to ask for some

        sort of chart kind of laying out how all these entities are

        connected, obviously especially as it related to the

        debtor, just so that I kind of understand how this is

        working.

                      I have a feeling that if I try to ask those

        questions, I’ll probably get similar answers, so I think

        that’ll probably be the most efficient way to handle that.

        The one question I will ask about this now though is, which

        I highlighted on -- touched on earlier.

        BY MR. ESCOBAR:

              Q.      The last entity here, Escada Sourcing and

        Production Group, is that really the name of this entity or

        is this one and the same as the previous one, which I

        believe is Escada Sourcing and Production, LLC, the one

        listed on Schedule D?

              A.      LLC.

              Q.      LLC.      Okay.     Okay.

              A.      That’s an LLC.

              Q.      Thank you.         Okay.    Okay.   Starting with Escada

        U.K. LTD, why did they receive 77,000?               What is the nature

        of that?




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               A.     These first two entities provide shared service

        or accounting services to the debtor.

               Q.     Okay.      And so the 77,000 is payment for these

        services or something else?

               A.     No.     Yeah, services.

               Q.     Okay.      And is this --

               A.     We have a shared service center located in

        Manchester.

               Q.     Okay.      And is the 77,000 represent, like, one

        lump sum payment or is it, you know, monthly payments?                How

        was that 77,000 paid out?

               A.     I’m pretty certain that there is some sort of

        routine or regular billing.          I’m not sure if it’s monthly

        or quarterly.         It, to be honest with you, it’s paid based

        on affordability at the time for the services provided.

               Q.     Meaning the debtor pays what they can afford to

        pay?

               A.     Yeah.

               Q.     Okay.      Okay.   Let’s go to Escada Shared Services

        LTD.    Why did they receive 610,000?

               A.     Yeah.      I -- both these entities provide services

        to the debtor with the majority of the services coming from

        Escada Limited.

               Q.     What types of services does Escada Shared

        Services provide to the debtor?




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                A.    Accounting, accounts payable, accounts

        receivable, treasury.            So we receive services from those

        entities, both of the two -- the two that we’ve spoken to

        now and charged for those and -- and pay based on

        affordability --

                Q.    Okay.

                A.    -- for the financial management for the broader

        Escada group is also located in that -- in that entity, as

        well.     So --

                Q.    Okay.

                A.    There’s also some IT systems that are, you know,

        baked into that as well.

                Q.    Okay.      So as to these last two entities we just

        went over, you’ve said now that for both.             Basically the

        debtor pays based on affordability.            So is -- does the

        debtor receive invoices from Escada U.K. or Escada Shared

        Services?

                A.    Yeah.      So we’re -- we are charged from the

        provider and under normal circumstances, their services are

        payable up front.           They’re obviously providing staff and

        the like in providing us services.

                      But this Shared Service entity, you know, granted

        some deferrals to us just in terms of, you know, survival

        of the company given -- given where we were.              But, you

        know, if you’re in a normal operation, those would be




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        payable up front for what’s provided.               We benefitted from

        those deferrals.

               Q.     Okay.      All right.        Let’s jump to Escada Online.

        Why did Escada Online receive 30,000 from the debtor?

               A.     I believe -- let me just see that here.            Escada

        Online, as we talked about, is 100 percent owned by Escada

        America LLC.

               Q.     Um-hum.

               A.     I think there was some royalty transactions

        probably between the two.                That’s what comes to mind right

        now.

               Q.     Royalty.           Okay.   Royalties for what?

               A.     Let me -- sorry.            I’m just trying to look in my

        files here.        Yeah.         I think what that balance represents is

        some -- probably represents some pass-through of inventory

        between the two, right?

                      So as we talked about, Escada Online is marketing

        the online channel as opposed to the store model, and

        there’s some -- probably some minor transactions between

        the two on transfer of, you know, racks or different things

        that the -- you know, the two businesses kind of share.

                      They market to third parties.            I’d have to come

        back on the details of the makeup of that specific balance

        though.

               Q.     Okay.      All right.        Escada Store Services, why did




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        they get 25,000?

              A.      Yeah.      Same.   Apologies, but same response.        It’s

        a pretty small amount off the top of my head.              I don’t know

        the specific reason --

              Q.      Okay.

              A.      -- that payment -- I mean obviously it’s focused

        on identifying those, but it’s fairly minor in nature.                 I’d

        have to come back rather that --

              Q.      Okay.

              A.      -- rather than guess what that is in front of me.

              Q.      Okay.      And finally, Escada Sourcing and

        Production, why did they receive two million?

              A.      Well, you know, that’s for the -- the inventory,

        the largest debtor that we have and I guess it was -- it

        was part of the, you know -- similar to Escada U.S.                  As the

        sales were made -- sorry -- Escada U.K.             As sales were made

        in the U.S. and funds collected, we were obligated to kind

        of forward that money back to the owner of the inventory,

        Escada Sourcing and Production.

              Q.      Okay.

              A.      That’s a royalty --

              Q.      Okay.

              A.      -- and similar to the U.K.        We haven’t done that

        and completely got some sort of relief on that and it

        showed itself in growing balance of that debt to that




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        entity.

              Q.      Okay.      So then this two million that Escada

        Sourcing and Production received within one year from the

        bankruptcy filing, that two million does not represent

        payment on the secured obligations that Escada Sourcing and

        Production has, right?

              A.      At the time of filing?       No.

              Q.      So let me ask that again, because I’m not sure

        maybe that you understand, and that’s my fault.              Okay.    So

        Escada Sourcing and Production, right, is a secured

        creditor.       They have two claims.      You’ve listed two claims

        that they have against the debtor.

                      In this Exhibit 4 to the statement of financial

        affairs, you’ve disclosed -- the debtor discloses that

        Escada Sourcing and Production received two million.                 You

        just described to me kind of what, in your opinion, that

        two million was for.

                      What I didn’t hear was that this two million

        was -- represents paying down of the two secured claims.

        So these weren’t payments on the secured claims that the

        debt -- that Escada Sourcing has against the debtor, is

        that right?

              A.      (No audible response.)

              Q.      If you don’t understand my question, that’s fine.

        You can --




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              A.      I believe --

              Q.      -- say that.

              A.      -- that’s correct.      Yes.

              Q.      You believe that’s correct.        Okay.

              A.      Yeah.      I may not understand the legalese of the

        designation of secured, but what specifically it represents

        the secured --

              Q.      Sure.

              A.      -- piece of that.

              Q.      Well, and it’s not meant to be a legal question.

              A.      No.     It --

              Q.      It’s really just a factual question, and it’s

        just really whether this two million includes payments for

        these two claims that Escada Sourcing has against the

        debtor, and it sounds like the answer is no, that this two

        million was for what you’ve just described.

              A.      No.     I would categorize it as a partial payment

        for funds collected --

              Q.      Uh-huh.

              A.      -- in the U.S. for sales of personal production

        inventory --

              Q.      Okay.

              A.      -- versus payment of any sort of historical plan.

              Q.      Okay.      And then kind of relatedly what I didn’t

        see on Exhibit 4, I didn’t see Eden Rock.             I don’t see




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        Mega.     So was the debtor not making any payments on these

        two claims within the one year since the filing of the

        bankruptcy?

                A.    Eden Rock I can confirm, no.

                Q.    Okay.

                A.    I wonder -- I’m just looking for it in the other

        list.     I’m going to have to come back to you on Mega --

                Q.    Okay.

                A.    -- because I just want to make sure that that

        wasn’t an omission and/or it wasn’t picked up.              It was

        considered maybe on a third-party list.

                Q.    Okay.

                A.    It may be that there was no payments in the past

        year, but I just want to reconfirm that.

                Q.    Okay.      Perfect.   Thank you for that.     All right.

        All right.       Jumping now to Exhibit 7 to the Statement of

        Financial Affairs, which is page 56 of the docket, Entry

        Number 75, I see that Dunright Services breach of contract

        suit in Florida concluded.

                      Does the debtor owe any money on behalf of this

        lawsuit?

                A.    (No audible response.)

                Q.    Was there a judgment against the debtor as a

        result of this lawsuit?

                A.    I believe it settled, but I’m not sure.




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               Q.     Okay.      So I’m just going to --

               A.     I --

               Q.     -- flag that because really the underlying reason

        for my question is, I didn’t see Dunright Services as a

        creditor.       Maybe I missed them.      Maybe they’re listed as

        something else, but I just didn’t see a claim for them

        listed on the schedules.

                      So to the extent any judgment or obligation came

        out of this lawsuit, right, that’s kind of the question;

        why aren’t they on the schedules.           So I’ll just flag that

        as something that you guys will look into for me.

               A.     Yeah.

               Q.     For Escada v. Kahn, that one also concluded.            I

        see that there -- Escada, the debtor, is the plaintiff but

        did any judgment against the debtor come out of this

        lawsuit?

               A.     Can you just repeat which one?

               Q.     Yeah.      Escada America LLC v. Kahn Lucas Lancaster

        Inc.    It’s a breach of contract, landlord/tenant that was

        in the Supreme Court of the state of New York and it’s

        listed as concluded.

               A.     Yeah, I don’t -- I don’t think so.

               Q.     Okay.      And then lastly, the very last one on this

        exhibit, Site Crew Inc. (phonetic) v. Regent LP, et. al.

        This one is also listed as concluded.            Did a judgment




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        against the debtor result from this lawsuit?

              A.      (No audible response.)

              Q.      And if you don’t know, that --

              A.      I don’t.

              Q.      -- is okay to say.

              A.      I don’t think so either.

              Q.      You don’t think so.

              A.      I think that -- yeah.         I think it was resolved,

        but we can confirm.

              Q.      Okay.      Yeah, because, again, I didn’t see Site

        Crew, so just wanted to make sure.            All right.

              A.      On the creditor list.        Understood.     We can

        confirm that.

              Q.      All right.         And then I think this might be the

        last question for me before I open it up to folks.               I just

        wanted to clarify, Mr. Walsh, in the schedules, I think

        you’ve indicated that you’ve been with the debtor since the

        second quarter of 2017.

                      But then in your declaration, you state you’ve

        been with the debtor since 2016.            So I was just trying to

        understand which statement is right.            Maybe they’re both

        right and there’s some detail there that I’m missing.                So

        could you just clarify that for me?             How long have you been

        with the debtor?

              A.      Yeah.      I actually started with the debtor as an




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        employee --

              Q.      Um-hum.

              A.      -- in 2017 and was there on a third-party

        contract or basis prior to that at the very end of 2016, up

        until becoming an employee --

              Q.      Okay.

              A.      -- in the second quarter.

                      MR. ESCOBAR:          Okay.   Sounds good.

                      Okay.      All right.       Trustee Jones, do you have any

        questions for the debtor?

                      MR. JONES:          (No audible response.)

                      MR. ESCOBAR:          Mr. Trustee, are you there?

                      MR. JONES:          (No audible response.)

                      MR. ESCOBAR:          Maybe he had to jump off.     Okay.

        Let’s see.       Let’s move onto the creditors then.           Mr. Gold,

        do you have any questions for the debtor?

                      MR. GOLD:          I do.   Thank you.

                      MR. ESCOBAR:          Okay.   Go ahead.

        EXAMINATION BY MR. GOLD:

              Q.      Mr. Walsh, my name is Ivan Gold.             I represent a

        number of the debtor’s former landlords.                Are you an

        officer, director or employee of other -- any other Escada-

        affiliated entities?

              A.      I’m not.

              Q.      Does any other Escada-affiliated entity




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        contribute to your salary?

               A.     It does not.

               Q.     Who are the current officers and directors of

        Escada America LLC?

               A.     I know Mr. Reinstein is a principal of the

        debtor.

               Q.     Well, who do you report to?

               A.     I don’t have an official direct reporting

        relationship in terms of a day-to-day manager.              We don’t

        really have a --

               A.     No.     It does not have --

               Q.     Do you have a president or CEO?         You have had

        one.    So who’s your president or CEO?

               A.     Escada Store Services oversees Escada America

        LLC, but on -- on the payroll of Escada America LLC, there

        isn’t a specific president.

               Q.     Okay.

               A.     If I’m understanding your question correctly.

               Q.     Well, who do you -- you say that Escada Stores

        oversees, that was your word, Escada Store Services LLC

        oversees the operations of Escada America.             So who is the

        president or CEO of Escada Store Services LLC?

               A.     I guess as we talked about earlier.          I can

        confirm that Escada Store Services LLC is the 100 percent

        owner of Escada America LLC and Michael Reinstein, you




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        know, I think the -- the president.            To be honest with you,

        I just don’t use that title president, but he’s -- he’s

        the -- I’d use the word “principal,” but I think it would

        be fair to call him the president of both entities.

              Q.      You’ve mentioned Mr. Reinstein a number of times.

        What’s his master entity?

              A.      I -- I don’t know the answer to that question.            I

        mean I work for Escada America LLC and there’s certainly

        some affiliation and affiliated companies, but we’ve spoke

        about already.          But he’s in -- obviously has multiple

        entities under the overall group.

              Q.      When you say “group,” isn’t the group Regent LP a

        hedge fund?        Isn’t that who Mr. Reinstein’s entity is?

              A.      It’s one of the entities that I’m aware of.

        It -- for me to answer that is his entity, there’s no

        ownership relationship that I’m aware of and I can confirm

        of Regent LP to Escada America LLC.            But it’s got --

              Q.      Well, isn’t Regent the entity --

              A.      (Indiscernible) --

              Q.      -- isn’t Regent LP the ultimate parent?           Isn’t

        that who owns Escada Store Services LLC?

              A.      I do not believe so, but I also -- I’m not --

        yeah, I don’t know the answer to that in all honesty.

              Q.      Who employs Mr. DePatie?

              A.      (Indiscernible.)




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              Q.      What --

              A.      I also don’t the --

              Q.      Which entity --

              A.      -- answer to that.

              Q.      -- employees Mr. DePatie?

              A.      Yeah.      I --

                      MR. FRITZ:          This is J.P. Fritz.   Mr. Walsh can

        answer if he knows, but Mr. DePatie is also on the phone

        and perhaps he could answer.

                      MR. DePATIE:          Yeah.   Yeah.   I’m happy to answer.

        I’m paid by Mega International LLC.

                      MR. GOLD:          Mega International who’s been

        identified as a secured creditor is also represented here

        today to be in-house counsel of the debtor?

                      MR. DePATIE:          It’s Shared Services.

                      MR. GOLD:          That Mega International?

                      MR. DePATIE:          So we -- no.    We provide legal --

                      MR. GOLD:          Shared Services --

                      MR. DePATIE:          -- service.

                      MR. GOLD:          -- is a different entity?

                      MR. DePATIE:          (Indiscernible.)

                      MR. GOLD:          Shared Services is a different entity.

        Mega was described as a lender.              Are you representing that

        Mega International provides shared services to the debtor

        over and above the $700,000 in Shared Services identified




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        in SOFA?

                      MR. DePATIE:          That’s correct.

                      MR. GOLD:          Mega International, I think --

                      MR. DePATIE:         Mega International provides shared

        services.       I don’t mean Shared Services, the entity.            Mega

        International provides services to Escada America LLC while

        the business operates.

                      MR. GOLD:          In addition to providing it with loans

        reflected in the schedules or those payments for secured

        services?

                      THE WITNESS:         The loan --

                      MR. DePATIE:         That’s correct.

                      THE WITNESS:          -- specifically -- yeah, sorry.

        I’ll just jump in here.             This is Kevin Walsh.   The loan

        that we discussed clearly was with Eden Rock and we also,

        just so there’s -- there’s no confusion, when we talked

        about shared services with the U.K. entity, that’s

        primarily financial shared services in nature, and I

        provided some examples like accounts payable, accounts

        receivable, general accounting, et cetera.

                      Mega provides other elements of shared service in

        terms of some legal services.             We benefit from some scale

        in terms of IT software licenses, consulting that we don’t

        have on staff.          We’re very lean.     So those are the type of

        either services that are billed or invoices that are paid




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        and attributable to Escada America LLC, the debtor if that

        helps clarify somewhat.

        BY MR. GOLD:

              Q.      Well, Mr. Walsh, can you turn on Docket #75.

        It’s the initially filed schedules.            I’m referring to page

        14 of the .pdf, Item 2.4 of Schedule D, creditors who have

        claimed secured by property, Mega International purports to

        have a $1.5 million indebtedness owed by the debtor that is

        secured by personal and fixture property and evidenced by a

        UCC-1.     Do you see all that?

              A.      Yes.      I’m aware of it.   To be honest with you

        right now, my -- my computer screen has frozen up.               Again,

        I -- I’m not up on all the legal terminology, but I can

        confirm that Escada America LLC owes Mega and does, in

        fact, have a debt.

                      If there’s something from a legal point of view

        that I might have misconstrued or misunderstood when I

        responded to your question, I apologize.             But I can

        confirm --

              Q.      No.     I’m trying to -- I’m trying to understand

        the debt, because loaning the company money and securing it

        by UCC-1 is one thing and providing a stream of shared

        services, which you’ve described in detail, and then having

        that secured by a UCC-1, and to accumulate $1.5 million in

        shared services raises many questions.




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                      So the question is, which one is it?          Is the $1.5

        million indebtedness to Mega from a loan?             Is it from a

        stream of shared services over a period of time or is it

        some combination of the two?

              A.      I would say a combination of the two.          Mega has

        clearly been funding and allowing Escada to continue as

        long as it has through funding expenses, including, you

        know, I’d have to -- I’d have to look into the exact

        breakdown, but paying benefits of Escada’s employees and

        items like that.

              Q.      And has that relationship, as you’ve described it

        involving multiple transactions, has that been continuous

        since the current ownership of the company since 2019 or

        that a new development?

              A.      It has been continuous.

              Q.      And in contrast, you described the Eden Rock

        transaction as keeping the debtor alive during COVID.

        That’s listed at $579,000 and change and has a 6/26/20 date

        as the date the debt was incurred.            I’m speaking of Item

        2.1 in the schedules.

                      Was that a one-time loan?        In other words, it was

        literally $579,000 and change with a mouse click or a wire

        transfer or was that a series of transactions?

              A.      My recollection is it was a one-time loan.

              Q.      Okay.      What are the terms of that loan?       Is it a




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        demand note?         Is there a payment schedule?      Does it draw

        interest?

              A.      There is a loan document.        I don’t have it in

        front of me right now.

              Q.      Now you have referred to -- we’ve identified at

        least two entities, Escada Shared Services LLC and Mega,

        that provide a basket of services to the brick and mortar

        operations of Escada America LLC.

                      Are there -- is there one or more shared services

        agreements that delineate these services and how they’re

        going to be charged?

              A.      There is a shared service agreement, I believe,

        for the U.K.         I think I would answer as Mega that you would

        find that most of that activity is funding of payments, you

        know, for -- for vendors or shared vendors.

                      We obviously benefit from the fact that Mega

        provides services to a number of businesses across

        different industries and that’s -- that’s helped Escada

        America tremendously, right, because we’re getting

        economies of scale and we’re also having them pay for

        things at a time when probably Escada was not in the

        position -- if it was forced to do its own payments, this

        would’ve happened sooner.

              Q.      Well, okay.        That’s your answer as to Mega.      How

        about as to Escada Shared Services?




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              A.      Yeah.      There is --

              Q.      You described a --

              A.      -- I know there --

              Q.      -- whole bunch of things they provide you with.

        Is there an agreement?

              A.      There is a document I’ve seen.         In terms of the

        level of detail, I can’t recall off the top of my head

        right now exactly what was provided.            But it’s -- I’ll

        reiterate again that it’s an extremely lean organization

        when you look at the headcounts in Escada America LLC.                So

        it’s -- those services in finance, accounting, accounts

        payable, accounts receivable, treasury are provided from

        that entity.

              Q.      You signed both the schedules --

              A.      Out of --

              Q.      -- that were filed on February 1st and the

        amended schedules filed last evening, is that correct?

              A.      Correct.

              Q.      Do you know why the contract with Escada Shared

        Services LLC is not identified in Schedule G on either of

        the two schedules?

              A.      I think I also called it a document.          I just

        haven’t -- I’d have to go back and check on if it’s a

        formal contract or it’s an email document or an

        understanding.          That would be my response.




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              Q.      You paid Escada Shared Services $610,000 within a

        year of the petition based on an email?

              A.      No.     The billing has been consistent based on a

        methodology that’s followed not just for Escada America

        LLC, but other entities to which they provide service.                So

        it’s not, in any way, a unique transaction or something

        that, you know, just started and only relates to Escada

        America.

              Q.      I understand that you’re sharing services with

        other entities.          But is there an agreement that says you

        pay 27 percent or 19 percent or whatever the number is of

        AP or AR services or IT services?              Is there a document that

        delineates your share of the shared services and how you’ll

        be paid for them -- how you’ll be billed for them?               Excuse

        me.

              A.      Yes, I believe so.           I’ve seen it in the past and

        I -- I don’t have that in front of me right now.

              Q.      You testified that it’s not their -- Escada

        Shared Services is paid based on what you can afford at any

        one time, is that correct?

              A.      Correct.

              Q.      That means you don’t pay all of it, is that

        correct?

              A.      Correct.           To the best of my knowledge, yes.

              Q.      Do you know how much is unpaid?           You referred to




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        the -- you used the word deferral in your testimony

        earlier.      How much is deferred?

              A.      Yeah.      I think -- I think when I said deferral, I

        think under normal circumstances, the expectation would be

        since that organization was employing folks doing primarily

        finance work, the expectation would be that we’re paying up

        front.

                      We haven’t been doing that.         So when I said

        deferral, we were historically running balances there and

        in -- that’s what I meant by deferral.             I don’t know if

        there’s a legal definition.

              Q.      Okay.      No, no, I got you now.     But that’s a good

        clarification.          Like, so use --

              A.      Delayed.

              Q.      -- the word balance --

              A.      Delayed payments.        Delayed payments.

              Q.      Okay.      Okay.    So let’s use the word balance,

        which you just used.             What is the balance, approximately,

        that Escada America owes to Escada Shared Services LLC,

        either as of today or as of the petition date?              What’s your

        best estimate?

              A.      Yeah.      I’m just going to reboot my computer here.

        I apologize.         It froze up.     I can tell you what the -- what

        the balance is in a second.

                      MR. ESCOBAR:        Okay.   While Mr. Walsh is doing




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        that, this is Eryk from the U.S. Trustee.             Mr. Gold, I’ll

        give you until about 11:00 and then I’m going to proceed to

        others in case others have questions.            So just keep that in

        mind.

                      (Pause.)

        BY MR. GOLD:

                Q.    If you can’t readily retrieve it, Mr. Walsh, I’ll

        try it a different way.          Is it a six figure amount?

                A.    Sorry.       I didn’t -- I didn’t hear your question.

        I apologize.         Did you just ask something?

                Q.    If you’re having difficulty retrieving the

        document, I’ll ask it a simple, different way.              Is the

        balance --

                A.    Yeah.      No, I’m just --

                Q.    -- for then a six-figure --

                A.    -- I’m just rebooting --

                Q.    -- amount?

                A.    -- computer.       I don’t believe it to be a six-

        figure amount, but I will --

                Q.    Okay.

                A.    -- get the answer shortly.

                Q.    Okay.      Why is Escada Shared Services LLC not

        listed as a creditor in the schedules if you owed them

        money?

                A.    Let -- again, I’ll confirm what the amount is, if




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        any, in a second.

                      (Pause.)

                      THE WITNESS:       Okay.   Sorry about that.    I

        rebooted and I called up the file.

                      (Pause.)

                      THE WITNESS:       Yeah.   So it looks like I see, if

        I’m reading this correctly, 32,000.

        BY MR. GOLD:

              Q.      Yeah.      Let’s assume 32,000 is correct.      My

        question stands.           Why are they not listed as a creditor?

              A.      I believe we have them included on the balance

        sheet section.          It -- no, maybe they’re --

              Q.      I’m not referring to --

              A.      -- (indiscernible) --

              Q.      -- the balance sheet, sir.        I’m referring to the

        schedule filed --

              A.      Understood.

              Q.      -- in the bankruptcy court.

              A.      Understood, and I appreciate the question.

        Perhaps they should have been in terms of the creditors.                I

        would -- yeah, I’d have to circle back on that.              Certainly,

        the creditors --

              Q.      Let’s move to another topic.

              A.      -- are --

              Q.      You said Escada Sourcing owns all the inventory




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        in North America, is that correct?

                A.    Correct.           Sourcing and Production.

                Q.    Okay.      Why don’t they pay for their own customs

        bonds to import inventory into the United States?

                A.    It just --

                      (Audio terminates abruptly.            Off the record.)

                      (On the record.)

                      MR. ESCOBAR:           This is Eryk Escobar with the U.S.

        Trustee’s Office.           We are still on the 341(a) meeting of

        creditors for Escada America LLC, Case Number 22-10266.                      It

        is still February 8, 2022 and Mr. Gold was still asking

        questions.

                      Go ahead, Mr. Gold.

                      MR. GOLD:           Thank you.

        BY MR. GOLD:

                Q.    So, Mr. Walsh, you were explaining why it is that

        the debtor funds, what looks like from Exhibit 7, the

        Schedule AB, $1.4 million in deposits to Western Surety

        Company for the purposes of obtaining customs bonds for

        inventory that’s ultimately owned by another entity, why is

        that?

                A.    (No audible response.)

                      MR. ESCOBAR:           Mr. Walsh, are you there?

                      MR. GOLD:           Mr. Walsh, you have a question.

                      THE WITNESS:           Oh, sorry.   Apologies.   Yeah.    It




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        does so as a service to Sourcing and Production would be --

        would be my answer and it’s, you know, that was something

        that, you know, first kind of to use of importation was

        something but between the two entities that’s continued.

        BY MR. GOLD:

              Q.      Is that under a written agreement?

              A.      To be honest with you, I didn’t -- I didn’t set

        that structure up.               I’m not sure if that’s your specific

        question it’s specifically called out in an agreement or in

        the consignment agreement.

              Q.      And your first day declaration, you referred to

        the fact that the debtor operates three store locations for

        a separate non-debtor entity called Escada America

        Management LLC, is that correct?

              A.      Correct.           There are stores, yes.

              Q.      Okay.      Is there an agreement between Escada

        America Management LLC and the debtor with respect to the

        operations of those stores, a license agreement, a sublease

        or some other arrangement?

              A.      The debtor’s getting full benefit --

              Q.      Not my question, sir.

              A.      -- of the store.

              Q.      That’s not my question.           My question is, is there

        an agreement between these two entities governing the

        relationship by which the debtor gets the full benefit of




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        leases signed in another party’s name?

              A.      I’m -- I’m not sure about that.

              Q.      What are those three locations?

              A.      The locations are -- that have leases under

        Escada America Management are Beverly Hills, Costa Mesa,

        and Chicago.

              Q.      And Chicago, is it true that that both Chicago --

              A.      That would --

              Q.      -- and Costa Mesa, the debtor has provided the

        security deposits to the landlords to those locations?

              A.      Yes, because the debtor used to be the tenant and

        the LCs are -- they’re in the process of being moved over

        to the other entity.

                      MR. ESCOBAR:          Okay.

                      THE WITNESS:          I can confirm and --

                      MR. GOLD:          The process was --

                      THE WITNESS:          -- let me speak to that.

                      MR. ESCOBAR:          Okay.   This is Eryk from the --

                      MR. GOLD:          All right.

                      MR. ESCOBAR:          -- U.S. Trustee.   Mr. Gold, I’m

        going to jump in.           I gave you a little past 11:00 --

                      MR. GOLD:          Yeah.

                      MR. ESCOBAR:          -- because the recorder died.     So

        before I let you go further, I’d like to give others an

        opportunity.




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                      Mr. Cannizzaro, do you have any questions for the

        debtor?

                      MR. CANNIZZARO:       I do.

                      MR. ESCOBAR:       Go ahead.

                      MR. CANNIZZARO:       Good morning.    This is John

        Cannizzaro.        For the record, John Cannizzaro, Ice Miller,

        for 717 GFC LLC.           I want to start by apologizing,

        Mr. Fritz, but I wanted to get you a list of questions in

        advance so you could be prepared.

                      If there’s anything that I touch on that you

        don’t know, we can always follow up, but I think this

        should be pretty short.

        EXAMINATION BY MR. CANNIZZARO:

              Q.      Going back to the inventory that’s in the name of

        Escada Sourcing and Production, if I understand your

        testimony correctly, that all of the inventory is owned by

        the ESP entity and consigned to the debtor, is that

        correct, or is that your contention?

              A.      Correct.

              Q.      Line 18 of the schedules doesn’t list any

        inventory and line 21 of the SOFA lists property held for

        another, and it lists ESP there but with a value of

        unknown.      There’s also the amount on Schedule D, part of it

        is for consigned goods and part of it is for legacy

        liabilities.




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                      Is the amount listed for consigned goods the

        value of goods that the debtor is currently holding and has

        yet to remit payments for on sale or is it for goods that

        the debtor has sold and owes a remittance to ESP?

                A.    I believe it’s a net amount reflecting the amount

        that the debtor owes, less a commission owed to the debtor.

                Q.    So just to be clear, it’s for goods that were

        consigned to the debtor that have been sold and the debtor

        collected payment from customers and has yet to remit the

        net to ESP?

                A.    Correct.

                Q.    Okay.      For the goods, the consigned goods that

        the debtor is currently holding, do you know approximately

        the -- let’s say the net value of those goods if they’re

        sold?

                A.    Well, they’re -- just to be clear, they’re not on

        the books of the debtor, right?

                Q.    I understand that’s what the debtor’s point of

        view is.      I’m just trying to understand the value of the

        property that you’re currently holding under consignment.

                A.    Off the top of my head, I’d probably estimate

        somewhere around three to four million, but it is an

        estimate.

                Q.    Okay.      And then with -- again, with relation to

        ESP and the debts listed on Schedule D, if the first debt




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        is related to amounts that are due and owing for goods that

        were sold but payment has not yet been remitted, what’s the

        nature of these what’s described as legacy debt to other

        entities?

              A.      That debt represents monies owed by Escada

        America to other affiliates in Europe and Sourcing and

        Production acquired that debt from those affiliates.

        Escada America had that obligation and continues to have

        that obligation.                 It’s just a structure established by

        the -- by the prior ownership that was based out of Europe.

              Q.      So is the debts to these European entities were

        acquired as part of the 2019 transactions --

              A.      Correct.           I -- as part of that, the global Escada

        group was -- was part of the transaction, but there’s

        been -- my understanding is there’s been other changes in

        Europe leading to Sourcing and Production acquiring those

        debts.       I believe there were other insolvency precedents

        that occurred in Europe and believe that that’s where

        Sourcing and Production acquired those debts.

        BY MR. CANNIZZARO:

              Q.      Okay.      So kind of harkening back to Mr. Escobar’s

        question about the dates that was acquired, these -- the

        debt, the original debt for the $19 million on line 2.3,

        could pre-date 2019, but at -- in 2019, the debt was

        transferred to the ESP entity?              To clarify --




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              A.      That’s correct.

              Q.      -- the ESP entities purchased the debt from

        various entity -- from various European entities?

              A.      Yeah.      I think that’s correct.     I think it was

        later than 2019, but yes.

              Q.      Okay.

              A.      Just --

              Q.      Change -- oh, go ahead.        I don’t want to

        interrupt.

              A.      No.     I think that’s all.

              Q.      Okay.      Thank you.    Did the debtor receive any PPP

        funds?

              A.      We did not.        My understanding is we didn’t

        qualify.

              Q.      Okay.      With respect to the entities that are

        listed on Exhibit 4 to the SOFA as having received -- as

        insiders having received payments, is it your understanding

        that those -- yeah, should there be a cause of action

        against one or more of those entities, that they would be

        collectible?

              A.      I can’t opine on that, both from a legal point of

        view nor from a point of view on those -- on those

        entities.

              Q.      Okay.      Prior to the filing of the bankruptcy case

        were there any efforts pre-petition to market the debtor




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        for sale?

              A.      Not to the best of my knowledge.

              Q.      Okay.      And specifically with respect to my

        client, 717 GFC LLC, is it your understanding that the

        lease is still in place for the 717 ship location or that

        it terminated prior to the bankruptcy case?

              A.      I probably would ask Mr. Fritz to weigh in there

        from a legal point of view.            I know that we -- the debtor

        vacated the space.

                      MR. FRITZ:         From a legal point of view, I -- we

        would have to review the lease agreement, look at the law

        controlling it under the agreement, and look at how the

        state law interprets the term terminate.                I know some

        states take different approaches to it before we can answer

        that question.

                      MR. CANNIZZARO:        Thank you both.      That makes --

                      THE WITNESS:        Yeah.

                      MR. CANNIZZARO:         -- sense to me.     We can confer,

        I think, offline to clarify that.             The only other thing I

        would ask is that if an org chart is circulated connecting

        the various entities, if I could be copied on that.                  I

        would appreciate it.             But I have no further questions.

                      MR. ESCOBAR:         Okay.   Thank you.    This is Eryk

        Escobar with the U.S. Trustee.             Has any other creditor

        joined us since we’ve started this call?




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                      (No response.)

                      MR. ESCOBAR:          Hearing none, I will proceed.

                      Okay.      I’m going to need a continuance on this.

        There’s a number of items that I flagged and items that I

        will be requesting, so I would like the opportunity to kind

        of look into that and confer with counsel offline.

                      I’m looking at March 8th at the same time.

        March 8th?       Mr. Fritz, does that work with your calendar?

                      MR. GOLD:          Mr. Escobar, before we conclude, may I

        ask a single question about an omitted creditor?

                      MR. ESCOBAR:          I’m sorry.    Who’s this?

                      MR. GOLD:          This is Ivan Gold.

                      MR. ESCOBAR:          Oh, hi, Mr. Gold.

                      MR. GOLD:          I just wanted to ask one more question

        about an omitted creditor.

                      MR. ESCOBAR:          Yeah, yeah.    Just hang tight

        though.      Hang tight.         Let me finish this first.

                      Mr. Fritz, does March 8th work for your calendar?

                      MR. FRITZ:          March 8th is a busy day for me.

        Could we look at March 9 perhaps?

                      MR. ESCOBAR:          You know, that’s Judge Bluebond’s

        hearings usually for Chapter 11s.                So let me just go out to

        March 15th, which is the next Tuesday.

                      MR. FRITZ:          I have a highly contested plan

        confirmation hearing on that date.




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                      MR. ESCOBAR:          Okay.   Let me take step back.

                      MR. FRITZ:          Would the 16th be available or is

        that also not available?

                      MR. ESCOBAR:          Yeah.   Wednesdays I typically just

        like to leave for Judge Bluebond’s Chapter 11 calendars, so

        I’d rather not try to squeeze anything in on a Wednesday.

                      MR. FRITZ:          What about March 10?

                      MR. ESCOBAR:          March 10?   Yeah, that works.

        Thursday, March 10th at the same time, 9:15.

                      Mr. Walsh, are you available at that time?

                      THE WITNESS:          Yes.

                      MR. ESCOBAR:          Okay.   Great.   All right.     So as I

        said, this will be continued.               It’s not being concluded.

        It’ll be continued to Thursday, March 10 at 9:15.

                      Before we do that, Mr. Gold, you said you had one

        more question?

                      MR. GOLD:          I do, and thank you, again, Eryk.

        EXAMINATION BY MR. GOLD:

                Q.    Mr. Walsh, on Exhibit 7 to the SOFA, you were

        asked about this earlier, has a list of pending litigation

        against the debtor at the time of the petition.                  Do you see

        that?

                A.    Yes.

                Q.    Okay.      About halfway down the list, you have an

        action pending in Gwinnett County, Georgia.                You




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        characterized it as the Real Property Trust.              I’ll

        represent to you it’s the Retail Property Trust v. Escada

        America.      Are you familiar with that litigation?

                A.    I’m not involved in all these litigations or --

                Q.    Are you --

                A.    -- concerning (indiscernible) --

                Q.    -- aware of -- are you aware of that litigation

        is based on debtor’s failure to pay under a lease

        termination agreement?             Are you familiar with that?

                A.    Yes, I’m familiar that there was a claim, I

        believe, related to a location in Atlanta.

                Q.    Okay.      Do you know why this plaintiff was a party

        with the debtor to a written lease termination agreement is

        not listed as a creditor on the schedules, but it’s listed

        here?

                A.    Yeah.      I think because the lease was over but,

        no, I can -- I can discuss that with Mr. Fritz if that was

        an oversight.

                      MR. ESCOBAR:         Okay.   Great.   This is Eryk again

        with --

                      MR. GOLD:          We have to provide --

                      MR. ESCOBAR:          -- the U.S. Trustee --

                      MR. GOLD:          -- Mr. Fritz with a copy of the

        written agreement for a liquidated sum that is the subject

        of that action, and I thank you, Mr. Escobar, for the




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        opportunity to ask the questions.

                      MR. ESCOBAR:       Of course.      Okay.       So as I said,

        this matter stands continued to Thursday, March 10th at

        9:15 a.m.       Thank you everybody and you can look out for the

        dial in information on the docket.               I’ll file that within a

        couple days.

                      Thank you.        And we’re off the record.

                                        * * * * * * * *

                             I certify that the foregoing is a correct

        transcript from the electronic sound recording of the

        proceedings in the above-entitled matter.




        _____________________________                           Date:         02/25/2022

        RUTH ANN HAGER, C.E.T.**D-641




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Business Registration Records
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Business Information


                   Filing Number: 7445753
                 Company Name: EDEN ROC INTERNATIONAL LLC
                Mailing Address: 3500 S DUPONT HWY
                                    DOVER, DE 19901-6041
               Corporation Code: Secretary of State
         Secretary Of State Code: Limited Liability Company
                            Status: Active
                       Filing Date: 05/31/2019

Business Registration Officers




                               Position: AGENT
                               Address: 3500 S DUPONT HWY
                                         DOVER, DE 19901-6041
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                         Application to Register a Foreign
   LLC-5
                         Limited Liability Company (LLC)
                                                                                                                 201623210470
  To register in California an LLC from another state, country or other
  place, fill out this form, and submit for filing along with:
       A $70 filing fee, and
       A certificate of good standing, issued within the last six (6) months
       by the agency where the LLC was formed.                                                                               FILED
       A separate, non-refundable $15 service fee also must be included, if                                           Secretary of State
       you drop off the completed form.
                                                                                                                      State of California ,Is
  Important! LLCs in California may have to pay a minimum $800 yearly
  tax to the California Franchise Tax Board. For more information, go to
  htlps://www .fib.ca.gov.
                                                                                                                          AUG 1 5 2016
  Registered LLCs cannot provide in California "professional services," as                               \ c_J./
  defined by California Corporations Code sections 13401 (a) and 13401.3.                                           This Space For Office Use Only

                               For questions about this form, go to www.sos.ca.gov//Jusiness/belfifing-lips.lltm
  LLC Name to be used for this LLC in California
       CD      a.     Mega International, LLC
                      LLC Name                      List the LLC name you use now (exactly as listed on your certificate of good standing)

               b.
                      Alternate Name                If the LLC name In Item 1a does not comply with California Corporations Code section 17701.08; list
                                                    an alternate name to be used in California exactly as it is to appear on the records of the California
                                                    Secretary of State. The alternate name must include: LLC, L.L.C., Limited Liability Company, Limited
                                                    Liability Co., ltd. Liability Co. or Ltd. Liability Company; and may not include: bank, trust. trustee,
                                                    incorporated, inc., corporation, or corp., insurer, or insurance company. For general entity name
                                                    requirements and restrictions, go to www.sos.ca.gov/businQss/be/name-avc1ilability.htm.
  LLC History
    @ a. Date your LLC was formed                  (MM, DD, YYYY): _ _ _ _ _ _ _ _ _ _0_7~/3_1~/_2_0_15
                                                                                                      _ _ _ _ _ _ _ __
              b. State, country or other place where your LLC was formed: ________--"'D-"e"'la"-'w=a'-'re~-------
              c. Your LLC currently has powers and privileges to conduct business in the state, country or other place l\sted above.

  Service of Process (List a California resident or a California registered corporate agent that agrees to be your initial agent to accept service of
  process in case your LLC is sued. You may list any adult who lives in California. You may not list an LLC as the agent. Do not list an address if the
  agent is a California registered corporate agent as the agent's address for service of process is already on file.)
       ':3' a.
       '-2J         Michael Reinstein
                    Agent's Name
               b. 2121 Avenue of the Stars, 34th Floor, Los Angeles                                                                    CA      90067
                    Agent's Street Address (if agent Is not a corporation) - Do not list a P.O. Box    City (no abbreviations)        State      Zip

               If the agent listed above has resigned or cannot be found or served after reasonable attempts, the California
               Secretary of State will be appointed the agent for service of process for your LLC.

  LLC Addresses
    ® a. 2121 Avenue of the Stars, 34th Floor, Los Angeles,                                                                            CA      90067
                    Street Address of Principal Executive Office - Do not fist a P. 0. Box             City (no abbreviations)        State      Zip
              b. 2121 Avenue of the Stars, 34th Floor, Los Angeles                                                                     CA      90067
                    Street Address of Principal Office in California, if any~ Do not list a P.O. Box   City (no abbreviations)        State      Zip
               C.
                    Malling Address of Principal Executive Office, if different from 4a or 4b          City (no ubbroviations)        State      Zip


  la                                    document under the laws of the state, country or other place where this LLC was formed.

                                                                                     Michael Reinstein                             Authorized Signatory
                                                                                          Print your name here                        Your business title

 Make check/money order payable to: Secretary of State                                        By Mail                                       Drop-Off
 Upon fifing, we wiU return one (1) uncertified copy of your fi!ed                       Secretary of State                          Secreta1y of State
 document for free, and will certify the copy upon request and                 Business Entities, P.O. Box 944228                1500 11th Street., 3rd Floor
 payment of a       $5 certification fee.                                            Sacramento, CA 94244-2280                     Sacramento, CA 95814

Corporations Code§§ 17701.04, 17701.08, 17708.02, Revenue and Taxation Code§ 17941                                                   2014 California Secretary of State
LLC-5 {REV 01/2014)                                                                                                                    www.sos.cc1.govlbusiness/be

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                                                          The First State


               I,   JEFFREY W.          BULLOCK,         SECRETARY OF STATE OF THE STATE OF

       DELAWARE,         DO HEREBY CERTIFY "MEGA INTERNATIONAL,                    LLC" IS DULY

       FORMED UNDER THE LAWS OF THE STATE OF DELAWARE AND IS IN GOOD

       STANDING AND HAS A LEGAL EXISTENCE SO FAR AS THE RECORDS OF THIS

       OFFICE SHOW, AS OF THE FIFTEENTH DAY OF AUGUST, A.D.                            2016.

              AND I       DO HEREBY FURTHER CERTIFY THAT THE SAID "MEGA

       INTERNATIONAL,              LLC" WAS FORMED ON THE THIRTY-FIRST DAY OF JULY,

       A.D.     2015.

              AND I       DO HEREBY FURTHER CERTIFY THAT THE ANNUAL TAXES HAVE BEEN

       PAID TO DATE.




     5796076 8300                                                                     Authentication: 202829495
     SR# 20165367362                                                                             Date: 08-15-16
     You may verify this certificate online at corp.del<1ware.gov/authver.shtml
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Business Information


                   Filing Number: 3085691
                 Company Name: ESCADA SOURCING AND PRODUCTION LLC
                Mailing Address: 3500 S DUPONT HWY
                                    DOVER, DE 19901-6041
                     NAICS Code: 221210 (Natural Gas Distribution)
                        SIC Code: 4925 (GAS PRODUCTION AND/OR DISTRIBUTION)
               Corporation Code: Secretary of State
         Secretary Of State Code: Limited Liability Company
                            Status: Active
                       Filing Date: 06/17/2020

Business Registration Officers




                               Position: AGENT
                               Address: 3500 S DUPONT HWY
                                         DOVER, DE 19901-6041
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Claims Summary


2:22-bk--l 0266-BB Escada America, LLC

Type:bk            Chapter: 11                         Office: 2 (Los Angeles)
Assets: y          Judge: BB
Date Filed:        Last Date to File Claims:           Last Date to File (Govt):
01/18/2022         03/29/2022                          07/18/2022
Trustee: Gregory Kent Jones (TR)

 Claim#                   1mount claimed Date filed   Creditor
                                                                     Creditor name
                                                      number
                               $2887.17   01/21/2022 41069462        FLORIDA POWER & LIGHT
          2                   $79500.00   01/27/2022 41069483        Internal Revenue Service
          3     Vie,y        $841749.01   01/28/2022 41069532        Premium Outlet Partners LP
          4     Yiew          $13326.39   01/28/2022 41078426        SPG Houston I lolclings. L.P.
          5-2   View         $750769.87   01/28/2022 41078541        Las Vegas North Outlets. LLC
          6     View:          $1546.80   01/31/2022 41081120        Harris Countv Water Conlrol and
          7     View           $8204.13   01/31/2022 41081122        Harris Countv Municipal Utilitv District #358
          8     Vie,"'.         $700.25   01/31/2022 41086364        Central Telephone Company -Nevada
                                                                     Los Angeles County Treasurer and Tax
          9     View           $8537.47   02/09/2022 41091073
                                                                     Collector
        10-2    View         $440000.00   03/ I 0/2022 41092180      The Retail Propertv Trust
        11                   $543937.97   02/10/2022 41092402        .Sawgrass Mills Phase IV, LLC
        12                   $417439.45   02/10/2022 41092457        PREMIUM OUTLET PARTNERS. L.P.
        13                    $21674.03   02/11/2022 41093 118       AMEX TRS Co .. Inc.
        14      View        $1382622.26   02/18/2022 41069406        Ala Moana Anchor Acquisition. LLC
        15      View        $2441373.90   02/18/2022 41100245        B.W.HoteL L.L.C.
        16      View         $250000.00   02/21/2022 41100945        CHETRIT 1412 LLC
        17      View            $800.00   02/24/2022 41105868        Franchise Tax Board
        18      Vic~           $3600.92   03/02/2022 41069450        Direct Construction Company Limited
        19                     $3164.50   03/02/2022 41114 792       Opentcxt Corporation in Waterloo
        20                   $837026.18   03/12/2022 41069429        Chicago Oak Street Partners. LLC
        21-2                    $266.61   03/15/2022 41069507        Ml9 Retail - Raymark ULC
        22      View           $2677.50   03/16/2022 41124021        Fedex Corporate Services. Inc


                                          Total Number of Claims: 22


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                                      * Includes general unsecured claims

The values are reflective of the data entered. Always refer to claim documents for actual amounts.

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                     I                    PACER Service Center                                I
                     I                      Transaction Receipt                               I
                     I                         03/16/2022 12:34:19                            I
                      PACER                         Client
                                     AllenMatkins 1             1999903-40000 1487
                      Login:                        Code:                                     I
                                                                2:22-bk- l 0266-BB Filed or
                                     Claims         Search      Entered From: 1/1/2022
                      Description:
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                      Billable
                      Pages:         I1            1~10.10
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